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                                                                              FE8 2 3 2220
                         UNITED STATESDISTRICT COURT                          tkî:utEjyjg
                         SOUTHERN DISTRICT OFFLORIDA                         inoFz -waJ
                                CA SE NO .9:20-CV-80147-R LR

                                 JURYTRIALREQUESTED                     f1tî1 Av ee H 3
                                                                               cfMftAl&7
    JA NE K O E,an individualfiling pseudonymously
                 Plaintiff
    VS.
    A M A R CH AN DER M AINI aliases GA LLA NTVK .A M A R CM 4. AM A RCM 2.VIK RAM
    K M S.and V IK IG M K UM AR M A NSIN GH ,an individual
    G UAM NTEED REM O VALS,a Canadian company
    R EPZE,a fraudulentLLC
    EX PER T REM O VA LS,a fraudulentLLC
    IN TERNET R EM OVA LS,an A ustralian com pany
    M ARCA G LO BAL,LLC .d/b/a lnternetReputation.com , a Colorado LLC
    A M ARUTU TECH N OLO G Y d/b/a K ODD O S, a Hong Kong lim ited com pany
    M INC LAW ,an Ohio Law firm
    K EV IN AN G ILERI,an individual
    R ON ALD LIN CO ,an individual
    M ICH AEL SCH ERN ,an individual
    JA M ES JO H N,an individual
    J1M BURN S,an individual
    SCO TT BR EITEN STEIN ,an individual
    A RM A N AL1d/b/a 134 SO LUTION S BD ,an individual
    V IK M M PAR M AR aliasesM A TT H AM P and M AR TIN H O RAN , an individual
    JO HN D O ES 1-15,inclusive,
                  Defendants.

                                   CO M PLAINT A T LAW

          NOW COM ES plaintiff,JAN E KOE (çcplaintiff'),a law studentprtpseproceeding under
    a pseudonym ,and forherCom plaintatLaw againstA M AR CHAN DER M A IN Ialiases
    G ALLANTV K,AM A RCM 4,A M ARCM 2,V IKRA M KM S, and V IK RA M KU M AR
    M ANSINGH ($:Maini''),GUARANTEED REMOVALS(iiGuaranteedRemovals''),REPZE
    (ttl
       kepze''),IIRC (ttllRC'') EXPERT REM OVALS (ûEExpertRemovals''),INTERNET
    REMOVALS(dçlnternetRemovals.com''),MARCA GLOBAL,LLC.(CcMarcaGlobal''),
    AMARUTU TECHNOLOGY d/b/aKODDOS(ddAmarutuTechnology''),MINC LAW (CtMinc
    Law''),KEVIN ANGILERI(kiAngileri''),RONA LD LINCO ($kLinco''),M ICHAEL SCHERN
    (ktSchern''),JAMESJOHN ((dJohn''),JlM BURNS(CCBurns''),SCOTT BREITENSTEIN
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    (kkBreitenstein''),ARMAN ALld/b/a134SOLUTIONSBD (t$Ali''), V IK RA M PA RM A R aliases
    M ATT HAM P and MARTIN HORAN (û1Parmar''), andJOHN DOES 1-15 (alIdefendants
    collectively,ttDoes''),sheassertsthefollowing:

                                          INTRO DU CTIO N

       This case isabouta country-w ide extortion schem e being perpetrated by m ultiple D efendants
       againstPlaintiffundervarious stateand federallaw theories ofrecovery listed below .
              (l)FraudulentM isrepresentation
              (2)Defamation
              (3) Invasion ofPrivacy
             (4)CivilRICO j1962(c)
             (5)CivilRICO j1962(a)
             (6)CivilRICO j l962(b)
             (7)CivilRICO j 1962(d)
             (8)ComputerFraudandAbuse
             (9)BreachofthelmpliedCovenantofGoodFaithandFairDealing
             (10)Tortiouslnterferencewith AdvantageousBusinessRelationship
             (11)DeceptiveTrade
             (12)CivilConspiracy
      Plaintiffisa 1aw student,fine artist, and couturierwho isranked atthe top ofherlaw school
      class. Priorto law school, shetrained in fine painting and fine dressm aking in fashion
      capitolsofLondon and Paris. Since 20l7,she has run a fashion and artbusinessthathas
      won hernum erous awards in thefashion industry and helped hergetselected to show her
      designson runways atN ew York Fashion W eek and ParisFashion W eek. Plaintifftradeson
      hernam e,im age,and Iikeness, as itisinextricably linked to herability to sellherpaintings
      and designsto herelite and discreetsocialite clientele. Form erly active in w holesale
      boutique sales,Plaintiffnow sells herartw ork and fashion designs on herdirectto-consum er
                                                                                     -


      w ebsite and to a variety of Iuxury and big box retailersworldw ide alongside pursuing her
      legaleducation.
   3. Betw een February 20l6 to January 2017 with a finalending in February 2017 Plaintiff
      w asbetrothed via arranged m arriage to M aini. M ainicatfished herfam ily and her
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       m atchm al
                terby pretending to be an age28 investm entbanl
                                                              kernam ed V ikram Kumar
       M ansingh w hen he w asan age 37 unem ployed form erm arketing assistant. N otonly did
       M ainicon Plaintiffinto a rom antic relationship by lying abouthisnam e, age,educational
       background,professionalbackground, rom antic background,and future goals,butalso M aini
       stole Plaintiff'sdow ry priorto the February 2017 wedding date and hascontinued harassing,
       intim idating,defam ing,and extorting Plaintiff sfam ily since then. Plaintiffended the
       relationshipafterdiscoveringMainiis(1)addictedtoalcoholdespitegoingtoalcohol
       rehabilitation centersin Indiathroughouthis20s, (2)addictedtochil
                                                                       dpornography,(3)
       conned m ultiple fam ilies outside ofherown forarranged m arriage dowries, (4)sexuall
                                                                                           y
       assaulted a large num berofm inorchildren underage I1, including groom ing histhen age4
       niecew ith verbalstatem entsthathew anted to tûsm ash herbefore getting tittiesatage 9,''and
       (5)misrepresentedhisname,age,education,job,income,savings,andsheermagnitudeof
       hisbrazen spoken and dem onstrated sexualattraction to prepubescentgirlsages2 to l1.
    4. Between July 20l7 to Septem ber2019, M ainihascreated originalpostson dozensof
       websitesfilled w ith defalmation and IibelaboutPlaintiff. Between July 20l7 to A pril20l9,
       M ainicontinued threatening,harassing,and extofting Plaintiff sparentsoverem ailand via
       untraceable phone num bers stating thathe would postlibelanonym ously and he carried out
       histhreatsand intim idation efforts. Plaintiffhasreporthis actionsto Interpoland the FBI
       and now M ainifaceschargesforpossession ofchild pornography, crim inaldefam ation,and
       cyberstalking.
       M ainibegan by authoring originallibelaboutPlaintiffon a variety ofW ordpress and
       Blogspotblogs,accusing herofheinousactionsranging from dcleaving him atthe altar,''
       being û(a m edium to low functioning Borderline,'' and (icheating on exam sand herpartner,''
       when Plaintiffended the engagementam onth before the wedding date, returned his ring,is
       high functioning atan elite law school, and has neithercheated on exam s noron him . In
       reality,M ainicheated on Plaintiffthroughoutthe relationship, including w hen Plaintiffwas
      hospitalized. A fternotgetting the desired response from terrorizing Plaintiffand herfam ily
      fordoing thisfrom July 20l7 to January 2019, M ainisoon escalated his cam paign ofterror
      by posting furtherlibelon kdBashing W ebsites.''
      Thew ay the dtBashing W ebsites''work arethataggrieved suitors postlibelorfactual
      inform ation abouttheirex-partnerorex-partnersand then they are referred to ddltem oval
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       Paym entswere m ade in good faith,butserviceswere notfbllly rendered aspostscontinued to
       appearcopied and pasted throughoutthe Internetdue to the Bashing W ebsites,Rem oval
       W ebsites,and M aini'sdecision to continue writing libelin an effortto bully Plaintiffinto
       suicide. Soon,the pattern ofposting soon escalated to near-catastrophic Ievels,w ith new
       postsappearing daily and w eekly,causing Plaintiffnotonly to attem ptsuicide m ultiple times
       butalso to cancelallpresspublicity forherfashion show sduring Paris Fashion W eek for
       both Haute Couture in January and Prêtà Porterin M arch. Each postcostthousandsof
       dollarsto rem ove,and even afterpaying forone removal,G uaranteed Rem ovalscollaborated
       w ith DefendantsParm ar,Angileri,Breitenstein,and Schern to continue a pattern ofcontinual
       posting and thusrequests forrem oval.
    8. Based on inform ation and belief,M ainihascontinued w riting libelon various internet
       platform s,largely because Plaintiffachieved whathe could not:a successfulbusiness,a new
       com m itted relationship,and currentstanding atatop Iaw school. AIlfeatsM ainiw asunable
       to achieve dueto hisaddictionsto alcohol,gam bling,clubbing,and child pornography.
    9. W hen Plaintiffdiscovered thatGuaranteed Rem ovalsw asbehind furtherre-posting,beyond
       w hatM ainidid,Plaintiffrefused to pay fortwo additionalremovals,which were ultim ately
       notrem oved. G uaranteed Rel
                                  movals,w orking in concertw ith m aterialauthored by M aini,
       and the fraudulentcom pany (tlnternetReputation''and internationalfelons,were responsible
       forthe re-posting and re-hashing ofIibelous contentaboutPlaintiff.
    l0.Plaintiffhasspent$4,000 permonth in SEO servicessinceApril20l9and thousandsof
       dollarsin w hack-a-m ole rem ovalservices using G uaranteedltem ovals.com . She contacted
       Repze.com only to discoverthatthey are an illegitim ate extortion scam ikcom pany.'' Further,
       Plaintiffhad to cancelpressforfourParis Fashion W eek show s,Iay offnum erousm em bers
       ofherstaff,and delay the launch ofnew products due to the extensive sm earcam paign
       initiated by M aini,exacerbated by the Rem ovalW ebsites,and spread by the Bashing
       Websites(namely,alIotherDefendants).
    1l.Defendants'illegaloperation hascaused tremendous harm to Plaintifffinancially and
       em otionally and to Plaintifpsfashion and artbusiness. A ccordingly,Plaintiffhasbrought
       thisaction and hum bly and respectfully requeststhatthe Courtbring an end to Defendants'
       illegalconduct.
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                                                  PA RTIES

    12.PlaintiffJane Koe,a pseudonym ,is a private citizen who resides in Southern Florida when
       notattending Iaw school. Herprincipalplace ofbusiness isalso in Southern Florida,w here
       she createscustom couture and private artworksforherimage conscious,well-heeled female
       clientele in the M iam i,CoconutGrove,Delray Beach,Palm Beach,and Fisherlsland areas.
       Asnoted above,Plaintiffis a 1aw student,fine artist,and couturier. She aspiresto practice
       1aw in Florida aftercom pleting herJD ,LLM ,and M BA degreesand taking the Florida Bar
       Exam .
    I3.DefendantAm arChanderM ainialiasesV ikram K um arM ansingh,gallantvk,am arcm 4,
       am arcm   -
                     z,and vikram km s,is an individualAustralian citizen currently residing in lndia.
    l4.DefendantGuaranteed Rem ovals isa Canadian com pany.
    l5.DefendantRepze isa fraudulentLLC based in the United States.
    l6.DefendantIIRC isa fraudulentLLC based in the United States.
    l7.DefendantExpertRem ovals isa fraudulentLLC based in the United States.
    18.DefendantlnternetReputation isa fraudulentLLC based in the United States
    l9.DefendantInternetRem ovalsis an A ustralian com pany.
    20.DefendantM arca Global,LLC isa Colorado LLC.
    2 1.DefendantA m arutu Technology d/b/a KOD DOS isa Hong Kong lim ited com pany.
    22.DefendantM inc Law isan Ohio law firm .
    23.DefendantKevin Angileriisan individualresidentin A rizona w ho w asrecently released
       from federalprison forpossession ofchild pornography.
    24.D efendantRonald Linco isan individualofunknow n residency.
    25.D efendantScottBreitenstein isan individualresidentin Ohio.
    26.DefendantA rman A lid/b/a 174 Solutions BD is a com pany residentin Bangladesh.
    27.DefendantV ikram ParmaraliasesM attHam p and M artin Horan isan individualresidentin
       Bangladesh.
    28.D efendantJohn Does 1to 15,inclusive,are eitherindividuals orbusinesses orsom e
        com bination thereof.
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                                   JU RISD IC TIO N AND VEN UE

    29.ThisCoul'
               thasjurisdictionoverthesubjectmatterofthisactionpursuantto28U.S.C.jl33l
       because Plaintiff's claim againstDefendantsarisesunderb0th the Racketeering Intluenced
        andCorruptOrganizationsAct(RICO),l8U.S.C.j I96lto I968aswellasl8U.S.C.A.j
        1964(c)and theCom puterFraud andAbuseAct,l8 U.S.C.j l030 etseq.ThisCourthas
       jurisdictionoverthestate1aw claimspursuantto28U.S.C.j l367,underthedoctrineof
       supplementaljurisdiction.
    30.A11Defendantsnamedhereinaresubjecttopersonaljurisdictioninthisjudicialdistrict
       because theirconductcom plained ofherein emanatesfrom a conspiracy thatisdirected,
       overseen,and driven by the listofBashing W ebsitesow ned by Defendants Scott
       Breitenstein,M ichaelSchern,andKevinAngileri.Inaddition,personaljurisdictionis
       appropriate overthose Defendantsengaged in the m ining ofpersonalinform ation from
       Plaintiff's socialm edia profiles and pageantaward w ebsitesbecause,based on inform ation
       and belief,they sellthatcontentto otherw ebsites and m ine Florida residents'personal
       identifying inform ation,thereby expressly aim ing ortargeting theirtortiousconductat
       Floridaandthisjudicialdistrict.Similarly,theRemovalSitesgenerateCtclients''from the
       tortiousactsoftheExtortionWebsiteswhichstem from thisjudicialdistrictand,basedon
       inform ation and belief,rem ita portion oftheirprofitsback to the Extortion W ebsites.
       such,thisCourtmayexercisepersonaljurisdictionoverallDefendantswithoutoffending
       traditionalnotionsoffairplayandsubstantialjustice.
    31.Venueisproperinthisdistrictunder28U.S.C.j1391(b)(2)and(3)becauseasubstantial
       partofthe eventsand om issionsgiving rise to the claim sasserted herein occurred w ithin this
       judicialdistrict,substantialinjuryoccurredinthisdistrict,andDefendantsareotherwise
       subjecttotheCourt'spersonaljurisdictioninthisdistrict.
    32.Venueisalsoproperinthisjudicialdistrictpursuantto 18U.S.C.j1965and28U.S.C.j
        1391becauseDefendantsaresubjecttojurisdictioninthisjudicialdistrictanddobusinessin
       thisdistrict.Notethatl8 U.S.C.j l965(b)ofRICO providesthatprocessmay beserved in
       kianyjudicialdistrictoftheUnited States''whenrequiredbytheCtendsofjustice.''Courts
       have held thatsuch Cinationwide service ofprocess''provisionsalso conferpersonal
      jurisdictionoveradefendantinanyjudicialdistrictaslongasthedefendanthasminlmum
      contactswiththeUnited States. 18 U.S.C.j l965(d)allowsforprocessto be serveditinany

                                                   8
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      judicialdistrictinwhichsuchapersonresides,isfound,hasanagent,ortransactshis
       affairs.'' A ssuch,Courtshave approved nationw ide service ofprocess underboth 18 U .S.C .
       jl965(1))and(d).RefertoCory v.AztecSteelBldg.,lnc.,468F.3d l226,l231(l0thCir.
       2006).Furthermore,inthecaseofHellerv.DeutscheBankzjG,No.04-CV-3571,2005W L
       281l8l,at*2-3(E.D.Pa.Feb.3,2005),theCourtheldthatevensingleclaim-specific
       contactissufficienttoconferpersonaljurisdictionunderRICO whentheDefendantts)
       injurets)aPlaintiffthroughactivitiespurposelydirectedatresidentsoftheforum stateand
       theDefendantts)dotes)notpresentacompellingcasethatsuchjurisdictionisunreasonable.
       Finally,seethecaseofBurgerKing Corp.v.Rudzewicz,471U.S.462,472-77(1985).
    33.W ith regard to the factthatsom e Defendantsare located outside the United States,itm ustbe
       said thatRICO and otherclaim s in thissuitapply extraterritorially because ofthe Florida
       long-arm statute and the factthatthe U.S.Congress intendsto çtelim inate w rongfulconduct
       whereveritoccurs.''See UnitedStatesv.Noriega,746 F.Supp.1506,1517(S.D.Fla.l990),
       dkGiven the A ct's broad construction and equally broad goalofelim inating the harm ful
       consequencesoforganized crim e,itisapparentthatCongresswasconcerned w ith the effects
       andnottheIocusofracketeeringactivities.''affd,117F.3d 1206(11thCir.l997).
       lrrespective ofthe application ofthe M orrison testpost-2010,the Tenth Circuithasruled that
       thatForeignSovereignImmunitiesAct(CCFSIA''conferssubject-matterjurisdictionovercivil
       RICO claim s againstallforeign states,theiragencies,and theirinstrum entalitieswhen the
       com m ercialactivity exception,oranotherexception contained in the FSIA ,applies. Plaintiff
       allegesthatthereisconcurrentjurisdictionatplaygiventhat18U.S.C.j1964(c)providesin
       partthatûûanypersoninjuredinhisbusinessorpropertybyreasonofaviolationofj1962
       m ay sue therefore in any appropriate United Statesdistrictcourt.'' Thisdecision wasupheld
       bytheSupremeCourtinthecaseofTaflinv.fevitt,493U.S.455(1990).

                                    GENER AL ALLEG A TIO NS

    34.DefendantM ainiposted originalpostsaboutPlaintiffin July 2017,A ugust2017,Septem ber
       2017,N ovem ber2018,Decem ber20l8,January 2019,February 2019,M arch 2019,April
       2019,M ay 2019,and October2019. Based on inform ation and belief,he m ay have also
       posted in January 2020.
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     35.Plaintiffpaid G uaranteed Rem ovalsto rem ovethe defalnatory and libelousposts in January
        20l9 and February 20l9. Plaintiffalso spoke to rem ovalcom panies Repze.com       ,
        lnternetReputation.com ,M inclwaw .com,z47lkem ovals.com ,and ExpertRem ovals.com .
     36.Shortly afterthe rem ovalby G uaranteed Rem ovals,new poststhatw ere directcopies ofthe
        originally rem oved postscropped up w ith increasing extortion costs. Based on inform ation
        and belief,such postsw erethen distorted and re-copied on a variety ofwebsitesby
        DefendantsM aini,A li,Parm ar,Angileri,Linco,Schern, John,Breitenstein,and M att. M aini
        isan aggrieved suitor,con artist, catfish,and sociopath w ith a long history ofabusing wom en
        and girlsand stealing cash dow ries. The others A li, Parm ar,A ngileri,Linco,Schern,John,
        Breitenstein,and M att are extortionistbusinessowners.
     37.PlaintiffthenretainedlnternetRemovalsfor$1,000toremoveadditionaldefamatory and
        libelousposts. The com pany isrun by defendantBurnsand despite requesting a refund for
        failure to rem ove defam atory and libelousposts, no servicesw ere rendered. In fact,new
        postsended up appearingposf-retainer,as early asOdober20l9.
     38.Fullscreenshots and copies ofallpostsw illbe m ade available in discovery to opposing
        counsel'
               ,thatsaid,date and w ebsite postinforlmation are available in tabularform atbelow .


DATE PO STED        W EBSITE                               T ITLE
JuI 22,2017         A llsortsofrhin ssite.word ress.com    The Jane Koe Stor
Jul 23,2017         Liarsandcheaters.com                    Jane Koe LeftM eatthe Altar
December23,20l7     CheaterLand.com                        Jane Koe Runawa BrideBitch
December27,2018     Sta tunedformore.blo                   The Jane Koe Sto
December29,2018     Sta tunedform ore.blo                  M ore JaneKoe Files
Januar l7,2019      Liarsandcheaters.com                    Jane Koe United States
Januar l7,2019      Re ortcheatin Online.com               Jane Koe United States
Janua 17,2019       BadGirlRe orts.date                    Jane Koe Uni ted States Liarsand Cheaters
Januar 17,2019      Re ortcheatin Online.com               Kee JaneKoe ata Safe Distance
Januar 17,2019      W' ITcheater.com                       Kee JaneKoe ata Safe Distance
Januar 17,2019      BadGirlRe orts.date                    Jane Koe United States
Februa 11,2019      CheaterRe ort.com                       Jane Koe USA
Februar l2,2019     CheaterLand.com                        JaneKoe USA
Februa 2l,2019      TheDirt .com                           Dirt Filth Skank JaneKoe
Februar 22,2019     CheaterBoard.com                        Jane Koe Australia
Februar 22,2019     Ex osin Cheatin W ife.com              Jane Koe Australia
Februar 22,2019     Re ortAffairs.com                      Jane Koe Australia
Februar 22,2019     W' FFcheaters.com                      Jane Koe Australia
Februar 22,2019     Re ortcheatersonline.com                Jane Koe Australia
Februa 22,2019      CheaterBlock.com                       JaneKoe Australia
Februar 22,2019     DontDateAcheater.com                   Jane Koe Australia
Februar 22,2019     He Hobo.com                             JaneKoe Australia
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Februar 22,20l9     Cheaterl-loe.com                         Jane Koe Atlstralia
Februar 22,2019     CheaterEx ose.com                        Jane Koe Australia
Februar 22,2019     CheaterRant.com                          JaneKoe Australia
Februar 22,2019      W ikicheater.com                        Jane Koe Atlstralia
Februa 22,2019       Internetcheater.com                     JaneKoe Australia
Februar 22,2019     Verif Cheater.com                        Jane Koe Australia
Februar 22,2019     Ex osecheatin Online.com                 Jane Koe Australia
Februar 22,2019     CheaterBot.com                           JaneKoe Australia
Februar 22,2019     Cheaterlwist.com                         Jane Koe A ustralia
Februar 22,2019     Verif Cheater.com                        Jane Koe Australia
Februar 22,2019     Cheatercase.com                          Jane Koe A ustralia
Februar 22,20l9     BadG irllte orts.date                    Jane Koe A ustralia- CheaterBoard
Februar 22,2019     BadGirllke orts.date                     Jane Koe Australia - Re ortCheatin W ife
Februar 22,2019     Internetcheaters.com                     Jane Koe Australia
Februar 22,2019     Re ortcheater. com                       Jane Koe Australia
Februar 22,2019     Re ortcheatin Online.com                 Jane Koe Australia
Februar 22,2019     Re ortcheatin W ife.com                  Jane Koe Australia
Februar 22,2019     Ex osecheatersonline.com                 Jane Koe Australia
Februar 22,2019     W'  FFcheater.com                        Jane Koe Australia
Februar 22,2019     CheatandLie.com                          JaneKoe Australia
Februar 22,2019     Cheaterscau htonline.com                 Jane Koe Australia
M arch l2,2019      Liarsandcheaters.com                     Jane Koe USA
M arch 12,2019      Postcheaterspictures.com                 JaneKoe USA
M arch l2,2019      W' I-Fcheater.com                        Jane Koe USA
M arch 12,2019      Re ortcheatin W ife.com                 Jane Koe USA
M arch 12,2019      Re ortcheatin Online.com                 Jane Koe USA
M arch l2,2019      lntidelit W ebsite.com                   Jane Koe USA
M arch 12,2019      BadGirllke orts.date                    Jane Koe United States Re ortCheatin W ife
M arch 12,2019      BadGirlRe orts.date                     Jane Koe , USA Liarsand Cheaters
M arch 16,2019      Cheaterx osed.us                        D irt FiIth Skank JaneKoe
A riI13,2019        Datin Com laints.co                     Jane Koe isa Dirt Fi1th Skank
M a 23,2019         Ex osecheatersaonline                   Dirt Filth Skank Jane Koe


     39.DefendantM ainiand hisextortionistco-conspirators have used the false nam esttKat,''çflo ''
        kdEki5''iiAnonym ous,''and (dsa1'
                                        n''to make libelousand defam atory com m ents aboutPlaintiff.
        A llcom m ents willbe available to counselin discovery. Plaintiffintendsto subpoena aIl
        w ebsitesw here comm entsappearto discoverthe IP addressesofsuch postersw riting on
        February 1l,2019,M arch 2,20l9,April4,20l9,June l3, 2019,and N ovem ber30,2019.
     40.PlaintiffhassentM ainiover35 requeststo (icease and Desist,''and hasfiled forrestraining
        orders in A ustralia,N ew York,and Florida. Despite this,M ainicontinuesposting libelabout
        Plaintiff. Based on inform ation and belief,M ainiisdeterm ined to affectPlaintiff sability to
        m arry anothersuitorw ho isfarricher,sm arter,m ore virtuous,and m ore accom plished than
        he is. Based on inform ation and belief,itseem sM ainicannotm ove on in a healthy w ay;he
        rem ains unsuccessful.
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    41.Based on inform ation and belief,Defendants'use one ofthe follow ing three tacticsto obtain
       personalidentifying inform ation oreven false and Iibelous personalidentifying inforlmation:
              M aini,a vexatious individualoperating outofm alicious disregard forthe truth, posts
              libelon anum berofhis blogs and a variety ofgripew ebsitesthatarethen either
              dcscraped''by additionalDefendantsto paste onto theirow n w ebsitesorûtscraped''by
              A lid/b/a ()4 SolutionsBD and copied and pasted onto othergripe websites.
           b. Some Defendants sum m arize libelousstatem entsm ade by an aggrieved suitoron one
              ortw o w ebsitesand then copy and pastethem on dozens and dozensofother
              w ebsites.
              SomeDefendantsjoinLinkedln.com andposeaslegitimatemembersforthepurpose
              ofgathering personalidentifying inform ation,including m em bers'w ebsites,business
              pages,aw ards,photos,em ailaddresses,phone num bers,and Iocations. Forexample,
              aDefendantmayjoinLinkedln.com andposeasalegitimatebusinesspersonseeking
              to connectw ith Plaintiffand then entice Plaintiffto provide certain personal
              identifying inform ation. DefendantV ikram Parm aralias M artin Horan m aintainsa
              fake Linkedln profile forexpressly thispurpose:to prey on successful,ethical
              students and professionalsto extortthem .
    42.Based on inform ation and belief,the Bashing Scam essentially worksas follow s:
           a. Afterobtaining the personalidentifying inform ation ormalicious,libelous
              inform ation,itisthen posted to the Bashing W ebsiteswhere Plaintiffhascontinued to
              be defam ed and victim ized by Defendants'ruse.
              V ictim s,including Plaintiff,are then referred to the Rem ovalSitesw herethey are
              told thateach individualposting can be rem oved fora fee,which generally ranges
              from $1,500to $15,000.Such highextortiverem ovalcostscanquickly become
              prohibitiveforaself-supportedlaw studentandcreativeyoungprofessionaljust
              beginning theircareer.
              A sexplained below ,Plaintiffhasalso received harassing emailsadvising herthather
              inform ation hasbeen posted on the Bashing W ebsitesand sometim esreceivethreats
              thatthe postingsw illbe m ore w idely dissem inated on m ainstream socialm edia and
              on furtherBashing W ebsitesshould she choose notto pay the Rem ovalSitesto
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              removethepostings.Theseemailshavebeensentinconjunctionwithanumberof
              harassing phone callsto both Plaintiffand herm other.
    43.Basedoninformationandbelief,theCommunicationsDecencyActof1996(CiCDA'')
       provides no protection forBashing W ebsites,Rem ovalW ebsites,and the originalposterof
       libelous content,M aini.
    44.ln spite ofthis,the Bashing W ebsitesand the Rem ovalW ebsitesin question listthe
       CommunicationsDecency Actof1996(étCDA'')asproviding immunity from extortion for
       charging feesforthe rem ovalofany content. Again,the CD A doesnotprovide any
       protection to the Defendants in thiscom plaint.
    45.Because the Bashing W ebsitesm anufacture and/orsolicitallcontent,the CDA neither
       protectsthe contentnorthe com m unications,extortion threats,and requestform oney to take
       down extortive contentforwhich itrem ains Iiable both directly and indirectly.
    46.The CDA only offersprotection to those websitesw ho do notsolicitorprovide content,with
       theunderstandingthattûgnloprovideroruserofaninteractivecomputerserviceshallbe
       treated asthe publisherorspeakerofany inform ation provided by anotherinform ation
       contentprovider''withthecitationof47U.S.C.j230(c)(l).Accordingto47U.S.C.j
       230(943),an çinformation contentprovider'isdetsnedasksany person orentity thatis
        responsible,in whole orin part,forthe creation ordevelopm entofinform ation provided
        through the Internetorany otherinteractivecom puterservice.'' Thatis,kinform ation content
        providers'arenotimmunizedbytheCDA,withafurthercitationof47U.S.C.j230(9(3).
        M ore specifically,the visible extortive contenton the Bashing W ebsitesand the related
        com m unicationsand extortive actsin w hich Rem ovalW ebsitesengage,are exactly the type
        thatrem ain fully excluded from CDA protection.
     47.W ebsitessoliciting unlawfulcontentare excluded from CDA im munity. The Rem oval
        W ebsitesand the Bashing W ebsitesare 170th considered Itinform ation contentproviders''
        outsideofCDA immunitybecausetheyhavecollectedinformationaboutPlaintiff(and
        countlessothervictims)and posted thatinformation alongsidemultiplemaliciousdefamatory
        accusationsaboutPlaintiffand stole a copyrighted pageantheadshotphotograph.
        Furtherm ore,the Bashing W ebsitesthen copied and pasted the entire defam atory postand
        pageantheadshotphotographdespitebeingnotifiedthat(a)thecontentisentirely defamatory
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        and(b)afullandcompleteDMCA takedownnoticeforthepageantphotographwas
       provided in full.
    48.A fterPlaintiffrefused to continue paying forwhack-a-m ole removals, the Bashing W ebsites,
       the Rem ovalW ebsites,and DefendantM ainiconspired to continue creating and/orsoliciting
       unlawfulcontentforthe purpose ofextorting Plaintiffand herparents. The situation
       heightened to the pointPlaintiffattem pted suicide m ultiple timesand had to delay herfinal
       exam s,take offa term from schooldue to worsening physicalstress sym ptom s, and thus
       delay herIaw schoolgraduation date by oneyear. These are factsofw hich allD efendants
       are fully aw are.
    49.The Bashing W ebsitesand RemovalW ebsitesare iiinform ation contentproviders''outside of
       CDA im m unity asthey collected extensive inform ation aboutand pageantphotographsof
       Plaintiffandposted/tz/é'cinformationaboutPlaintiffdrawingfrom defamatoryperseand
       defamatorypostswithmaliciousintentoriginallycreatedbyDefendantMainiinretaliation
       forherrejectinghismarriageoffer,findingamoresuccessfulandethicalsuitor,rebuilding
       herself-esteem ,gaining herself-confidence afterhis extensive physical, verbaland
       em otionalabuse,and earning adm ission into the law schoolofherchoice.
    50.ltisapparentthatDefendants Kevin A ngileri,ScottBreitenstein, M ichaelSchern,
       Guaranteedlkem ovals,Repze,Internetlkeputation,V ikram Parm ar, and Expertlkem ovalsall
       played an im portantpal4 in the reposting and spreading ofthis m alicious libeloriginally
       posted by DefendantM ainiand none retain any CDA im m unity.
    51.The Defendantswho created and/orsolicited unlawfulcontentforthe purpose ofextorting
       Plaintiff,thoseparticipants are Ssinform ation contentproviders''w ithin the m eaning ofU .S.C.
       j230(9(3)andarenotimmunizedfrom liabilityforthecontentsofthosepostsbytheCDA.
       See47U.S.C.j230(9(3).TheBashingWebsitesandtheRemovalW ebsitesareliablefor
       theircondud as a conspiratorwith know ledge oftherelevantportionsofthisblatant
       extortion schem e.
    52.Thisextortion schem e m eetsthe definition forcivilRICO violations. To satisfy the
       necessary elementscom m on to aIlRICO violations,Plaintiffw illprove thatallBashing
       WebsitesandRemovalWebsitesare:(a)aculpableperson,who(b)conductsoracquiresan
       dtenterprise''(c)affecting interstatecommerce(d)throughaitpattern''(e)ofCcracketeering
       activity.''lnaddition,acivilRICO plaintiffmustshow injuryûibyreasonof''theRICO
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       violation,which Plaintiffhasalready established above in term sofrem ovalcosts, SEO costs,
       m issed opportunitiesin business,and more in thecausesofaction sections. ln term sof
       definitions:
              Anexaminationofjl962(a),(b),or(c),aswellasjl961(3)ofRICO definesaSsperson''as
              an ttentity capable ofholding a legalorbeneficialinterestin property.'' The Second Circuit
              hasmaintainedthatanorganizedcrimeCifamily''isnotaEtperson''subjecttoj l964(a)or(c),
              though acknow ledgesthatitcould be an association-in-factenterprise used by a culpable
              person to com m itracketeering.The Courthasconcluded thatillegalorganizationsdo not
              satisfy the statutory definition ofa culpable Esperson,''because itisnotcapableofholding an
              interestin property,while also acknow ledging thatan unincorporated association m ay be a
              RICO diperson.''SeethecasesJundv.Ftpwpoflfempstead,941F.2d127l,1282(2dCir.
              1991)(unincorporatedpoliticalassociations)andBankt?/'A(111.v.Nugent,584N.E.2d948
              (111.App.Ct.199l)(an estate,through itsexecutor,may bea'dperson''underRlCO).Thatis,
              in casesarising underj 1962(c),theculpablepersonmustbe separatefrom theenterprise.
              Plaintiffclearly is dem onstrating below thatthe culpable individualsbehind these w ebsites
              are separate from the overallextortion scheme ofBashing W ebsitesand Rem ovalW ebsites.
              W ith regardsto the m entalstate ofeach Defendant,itisclearthatRICO ispredicated on
              crim inalconductand itisnecessary to establish thateach defendantintended to engage in the
              conductw ith actualknow ledge ofthe illegalactivities. The m ailand wire fraud extortion
              schemeisanintenttodefraud.TheDefendantsinquestionintendedtoobtainmoneyby
             m eansofm aterially false and fraudulentpretensesand representations. The recklessness
              with which Bashing W ebsitesand Rem ovalW ebsitesoperates show sthatthe m isleading w as
              ûiso obviousthatthe actorm usthave been aware ofit.'' There isno argum entany Defendant
             can m ake forlack ofknowledge,asboth the Bashing W ebsitesand theRem ovalW ebsites
             profitoffofthe rem ovalfees.
             W ith regardsto the definition ofenterprise,RICO definesenterprise asiiany individual,
             partnership,corporation,orotherIegalentity,and any union orgroup ofindividuals
             associated in factalthough nota Iegalentity.'' Courtshave interpreted theterm ûûenterprise''
             very broadly,and Plaintiffassertsthatthe Bashing W ebsitesand Rem ovalwebsitesm eetthe
             definition ofan association-in-fact-enterprise. In the sem inalcase United States v. Bledsoe,
             the Eighth Circuitheld thatan association-in-factenterprise m ustexhibitthree
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            charactel-istics:(a)acommonorsharedpurposeamongitsmembers;(b)somecontinuityof
            structureand personnel',(c)anascertainablestructuredistinctfrom thatinherentinthe
            patternofracketeering.Seehere:18U.S.C.A.j1961(4),      .seealsoUnitedStatesv.Phillp
            M orrisUSA Inc.,566 F.3d 1095,ll1l(D.C.Cir.2009),holding that$(agroupofindividuals,
            corporations,and partnershipsassociated in factcan qualify asa RICO ûenterprise,'even
            thoughsection 1961(4)nowhereexpresslymentionsthistypeofassociation.''
            ln term s ofinterstate com m erce,RICO requirem entsare satisfied ifeitherthe activity ofthe
            enterprise orthe predicate actsofracketeering affectinterstate com m erce. The Bashing
            W ebsitesand the Rem ovalW ebsitesare located in differentstates,and run by Defendants in
            differentstates,w hich sufficiently pleadsthe requirementforthe nexusw ith interstate
            com m erce required by RICO.
            A patternofracketeeringhasbeenestablishedasoutlinedanddefinedinjl961(5).
             Specifically,Ckatleasttwo acts ofracketeering activity...the lastofw hich occurred w ithin 10
            yearsafterthe com m ission ofa prioractofracketeering activity.'' The actsofposting on
             Bashing W ebsitesandthen requiring Plaintiff(andthousandsofothervictims)wererelated
             and continuous. iiRelated''defined m eans thatkkactshave the sam e orsim ilarpurposes,
             results,participants,victim s,m ethodsofcom m ission,orotherw ise interrelated by
             distinguishing characteristicsand are notisolated events.'' Bashing Site posting and then
             Rem ovalSite de-posting meetsthe definition standard forklrelated.'' Further,continuity is
             dem onstrated here via the close-ended schem e,consisting ofa series ofrelated predicate acts
             extending overa substantialperiod oftim e:the Rem ovalSitespay the Bashing Sites
             advertising feestoadvertiseservicesandchargeremovalfeesto Plaintiff(and countless
             victims)toremoveposts.
             Racketeering activity is defined asany num berofFlorida state and U S federaloffenses
             enumerated in j 1961(1).Plaintiffallegesthatwirefraudhasoccurred,withregard tothe
             Rem ovalSitesreposting defam atory and libelouscontentoriginally authored by M ainiand
             then the Bashing Sitesparticipating in the posting and reposting. Thisendlessw hack-a-m ole
             cycle ofw ire fraud 1ed to Plaintiffspending thousandsofdollars in rem ovalfees,only fora
             reposting. PlaintiffisawareoftherequirementsofRule 9(b)intheFederalRulesofCivil
             Procedureto specify thetim e,place,and contentofalIw ire com m unication and the need to
             identify a1Ipartiesto the com m unications. Plaintiffw illrelease allreceiptsto opposing


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              counselduring discovery,deposition,and trial. Due to the sake ofprotecting herprivacy as
              herlegalnam e appears on invoicesand creditcard statem ents, Plaintiffisnotlisting dates
              and receiptam ounts in thiscom plaintitself.
           g. RICO standing requirementsincludeafour-factortest:thePlaintiffmustbe(1)açsperson''
              (2)whosustainsinjury(3)tohisorherCcbusinessorproperty''(4)ûsbyreasonof'
              Defendants'violationofj1962.Plaintiffisadtperson''whohassustainedsevereinjuryto
              herbusinessby thereasonofDefendants'violationofj l962. Plaintiffwillelaborateonthe
              injuriessuffered intherelevantCausesofActionsections.
                      lnjuryunderjl962(c)stemsfrom thepredicateacts.
                     lnjuryunderj 1962(a)stemsfrom theinvestmentofracketeeringincome.
                      Injuryunderj 1962(b)stemsfrom theacquisitionofaninterestonorcontroloveran
                      enterprise.
                      lnjuryunderj l962(d)stemsfrom theovertactscommittedinfurtheranceofthe
                      conspiracy.
              Plaintiff isGling w ithin the four-yearstatute oflim itations.

                                       CA USES O F ACTION

                                    FIR ST C AUSE O F A CTIO N
                            FIG U DULEN T M ISREPRESENTATION
                                    AgainstAm ar Chandcr M aini

    53.Plaintiffincorporatesby reference each and every allegation contained in the preceding
       paragraphsofthiscom plaintasiffully setforth herein.
    54.To state a cause ofaction forfraudulentm isrepresentation,Plaintiffwillprovethe following
       fiveelements:(a)amisrepresentation ofamaterialfact;(b)which thepersonmakingthe
       misrepresentation gMainilknew tobefalse;(c)thatthemisrepresentationwasmadewiththe
       purposeofinducinganotherpersontorely upon it;(d)thattheperson reliedon the
       misrepresentationtoherdetriment;(e)thatthisreliancecauseddamages.RefertoStandard
       JuryInstructions CivilCases(No.99-2. ),777So.2d378,38l(Fla.2000),Standardlury
       lnstructions CivilCases(1.0,6.1d,M 18),613So.2d l316,13l7(Fla.l993),American
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       InternationalLandCorp.v.Hanna,323So.2d567,569(F1a.1975),andHujf'b'
                                                                        tetlerv.Our
       HomeLfelns.Co.,65So.l(FIa.l914).
    55.Plaintiff is atraditionally-m inded and fam ily-focused abstinentvirgin ofIndian origin w ho
       applied to a variety ofprofessionalm atchm aking agencies starting atage 20 to find a suitable
       match from hercaste and subcaste. Afterbeing told she wastoo young to m arry and to wait
       untilaftergraduation by overeightelite agencies,she w aited untilgraduation and then
       im m ediately chose to sign on with JasbinaA hluw alia,a Ctm odern''arranged m arriage
       matchmakeralso ofIndian origin.Plaintiffpaidafeeof$2,500to retain assistancewith
       finding and grow ing a relationship w ith an Indian suitorin hercaste and subcaste. Underthe
       guidance ofM s.Ahluw alia,who isalso an attorney,and herm other,plaintiffsetup lndian
       m atrim onialpageson Shaadi.com ,ChristianM ingle.com ,O lkcupidvcom ,and M atch.com .
       Profileswere m anaged on a daily basisby plaintiff'sm other,who oversaw allm essagesfrom
       suitorsand passed on allpre-approved candidatesto plaintiff. Plaintiffwasin charge of
       writing message responses,butanyand a1Imeets(the Indian term forttdates'')wererequired
       to be pre-approved by plaintiffsm otherand included both phone interview and em ail
       interview screeners. Plaintiffs father,a highly respected physician,also participated in the
       screening processand oversaw both dowry questionsand issued finalapprovalto any
       suitorts)topursuecourtship.
    56.On hisprofile page using the screennam esûûGa11antV K,''and $$Vikram KM S,''M aini
       m isrepresented hisnam e,age,fam ily background,life story,work history,profession,
       education,licensure,relationship history,priorengagem ent,fsnancialstatus,and dow ry
       requirem ents. H e claim ed to be an age28 investm entbankeratU BS nam ed V ikram Kumar
       M ansingh w ho com pleted an M BA in Finance atLondon BusinessSchooland had
       certification in Psychotherapy and M edicine from University ofLondon. Hew as actually an
       age 37 unem ployed form erm arketing assistantw ith an M A in History and a BSc in
       Econom ics. He neverw orked in investm entbanking and has no professionalcertifications in
       eitherpsychotherapy orm edicine. The University ofLondon lnternationalDivision doesnot
       even offerdegrees in psychotherapy orm edicine. Suffsce itto say,M ainihasno
       qualificationsto practice psychotherapy orm edicine,and iscertainly notIicensed to provide
       diagnostic ortherapeutic services.
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    57.Plaintiffw asunderthe im pression thatshe w asdeveloping a relationship w ith an upstanding
       m em berofhercaste and subcaste from the rightastrologicaland numerologicalbackground.
       Herand herfam ily w ere blindsided by the repeated fraudulentm isrepresentationsM aini
       presented abouthim selfin orderto obtain a substantialdow ry ofcash and gold asw ellas a
       US citizenship green card from Plaintiffand herfam ily. ln the casesArlington Pebble
       Creek,LLC v.CampusEdge CondoAss'n,232 So.3d 502,505 (FIa 1stDCA 2017),Howard
       v.Murray,l84 So.3d l55,n.22(Fla.1stDCA 2015),Cohenv.Corbitt,135So.3d527,529
       (Fla.1stDCA 2014),ConnecticutGen.L(/clns.Co.v.Jones,764So.2d677,682(FIa.1st
       DCA 2000),andStateofFlorida,Departmentofl-ransportationv.SouthernBellTelephone
       and Telegraph Company,Inc.,635So.2d74,78(FIa.1stDCA l994),theCourthasupheld
       the definition offraudulentm isrepresentation. Thatis,ttM oreover,undercertain
       circum stances,concealm entornondisclosure ofa m aterialfactmay also form a basisfora
       claim in m isrepresentation.'' M ainifailed to discloseand concealed histrue identity in order
       to defraud Plaintiffand herfam ily ofboth Am erican citizenship and a dowry.
    58.M ainiisa pathologicalliar,dcatfish,'and con artistwho duped Plaintiffinto a relationship on
       false pretenses using the fake identity ofan age 28 UBS investm entbanking analystwhen he
        wasreally an age 37 unem ployed form erm arketing assistantworking ata no-nam e com pany.
           a. A screenshotofhisOK cupid profile where isblatantly lying abouthisnam e,age,
               profession,relationship status,and 1og in information isavailable in ExhibitA .
           b. A screenshotofhisPlenty ofFish profile w ith username ûûgallantvk''w here he is
               blatantly lying abouthisnam e,age,profession,relationship status,and log in
               inform ation,obtained on the day ofPlaintiff's 17-hournerve dam age surgery is
               available in ExhibitB. Plaintiffand M ainiwere exclusive from M arch 15,20l6 w ith
               aw edding date setforFebruary 25,20l7. Plaintiffwasreceiving em ergency
               reconstructivejaw surgeryonM ay l,2and3,2016withfamousBeverleyHills
               reconstructive surgeon Dr.Charles Lee,M D,in orderto fix both nerve dam age and
               tissue necrosis in herface following m edicaland dentalm alpractice. During this
               tim e,M ainicontinued pursuing otherwom en despite writing Plaintifflove letters
               priorto using dating applications.N otethatM ainisentPlaintiffa love Ietterat5:32
               A M and by 9:59 PM ,he wason a dating app,afterm aking m ultiple com m ents about
               how his intentions included atraditional,m onogam ous Indian arranged m arriage.
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               A screenshotofhisShaadi.com profile taken on A ugust26, 2016 where he isposing
               asa m edicaldoctorw hen he isnota m edicaldoctorisavailable in ExhibitC . He
               rem ainsan unem ployed formerm arketing assistant.
           d. A screenshotofM aini'sintroduction to Plaintifps fam ily w ith the nam e Vikram is
               available in ExhibitD .
               A screenshotofM aini'sfake socialm edia profilesutilizing the nam esV ikram Kum ar
               M ansingh,V ikram KM S,A m arCM 4,Am arcM 2,and GallantvK are attached in
               ExhibitE.
               The pairhad announced theirengagem enton N ovem ber l,20l6, w ith M aini
               proposing to Plaintiffafterviewing Ar
                                                   fy FairLady atthe Sydney Opera H ouse he
               forced Plaintiffto plan a wedding date ofFebruary 25,2017. A photograph from the
               day blurring outPlaintiff'sidentity isprovided in ExhibitF.
           g. The pairw ere in a supposedly com m itted and exclusive relationship from February
               2016 to February 2017,
                                    'Plaintiffended the relationship in January 2017 and Gnalized
              theending in February 2017. During thistim e, they exchanged thousandsof
               m essageson Skype,alIofw hich are available in unedited form to opposing counsel.
               Copiesofhis usernam e pagesare available in ExhibitG.
           h. A udio and video recordingsofM ainiengaging in illegal, nefariousactivitiesand
              discussing hisdelusionsofgrandeurasa future politician in the Bharatiya Janata
              Party are available via perm anentdownload linksto opposing counsel. A llofthese
              filesare availablevia M P3 and M P4 download.
    59.M ostdisturbingly,M ainipresented him selfasa ûssaviorand healer''to Plaintiff, touting his
       fake credentialsasa supposed physician and psychotherapist. He spenthoursdaily
       tkdiagnosing''Plaintiffw ith random m edicalconditionsand then began a course ofaction
       known asD ialecticalBehaviorTherapy,when he isnotlicensed in m edicine or
       psychotherapy. M ainiused a seriesofm ind controltricksto hypnotize and m anipulate
       Plaintiffinto revealing herinnerm ostfears and secretsand then ridiculed herforsharing said
       inform ation. Thiscaused severe damage w ith w hich Plaintiffhashad to spend years com ing
       to term swith an actualcertified therapist,who hasdescribed M ainias a Cifull-on sociopath.''
    60.Upon Plaintiffopening up and confiding in M aini,he then began a viciouscam paign to
       exacerbate heralready fragile em otionalstate by gaslighting herand herfam ily by claim ing


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       he cheated due to being an internationalspy w orking forthe lndian governm ent. Ittook
       Plaintiffand herfather a very traditionallndian head ofhousehold over6 m onthsto fsnd
       a private investigatorto revealthathe isnotan Indian citizen,and therefore is ineligible for
       any governm entalorspy related services.
    61.To be clear,M ainim isrepresented his identity,w hich isa m aterialfact,and knew itw as
       false,knew itwould cause Plaintiff'sfam ily to giveperm ission to perm itcourtship,and
       knew itw ould cause Plaintiff'sfatherto deliveran all-cash dowry. A s ifthiswere not
       enough,M ainialso m isrepresented hispsychotherapy and m edicalcredentials,causing near-
       perm anentselfesteem to Plaintiffw ho neverhad issuesw ith suicidalideation priorto
       meeting him . M ainirepeatedly used hisposition asthe olderindividualin the relationship to
       pressure Plaintiffinto life-threatening surgicaltreatm entsthatnearly disfigured herand to
       engage in mindcontroltactics.Thisdamagecausedover$187,000 in revision medical
       expenseswithpermanentnervedamageinPlaintiffsjaws,inadditiontoover$1,500,000in
       cash dowry plus$500,000 in gold bricks,customary giftsintraditionalarrangedmarriage.
    62.W HEREFORE,thePlaintiffpraysthatajudgmentbeenteredagainsttheDefendantinanamount
       fairandjust,butnoIessthanFiveHundredThousandDollars($500,000)incompensabledamages,
       aswellasexemplary damagesintheamountofOneM illion Dollars($l,000,000)forhiswillfuland
       contum aciousdisregard forthe Plaintiff'sem otional,mental,and physicalwell-being,and the
       foreseeable impacthisconductw ould have on Plaintiff'shealth and w ell-being in the future.
       PlaintiffseeksallotherreliefthisCourtdeemsappropriateandjustunderthecircumstances.

                                   SECO ND CAU SE OF AC TIO N
                                           DEFAM ATIO N
                                     AgainstAmar ChanderM aini

    63.Plaintiffincorporatesby reference each and every allegation contained in the preceding
        paragraphsofthiscom plaintas iffully setforth herein.
    64.To stateacauseofactionfordefamation Plaintiffwillprovethefollowing fiveelements:(a)
       publication;(b)falsity'
                             ,(c)actormustactwithknowledgeorrecklessdisregardastothe
       falsityoratleastnegligently on am atterconcerningaprivateperson;(d)actualdamages;(e)
        statem entsm ustbe defam atory. Referto the casesJew ForJesus,Inc.v.Rapp,997 So.2d
        1098,ll06(Fla.2008)andCooperv.MiamiHerald,31So.2d382,384(Fla.1947).
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    65.To state a cause ofaction forlibel,Plaintiff,a private person,w illprove thatthe publication
       meetsthefollowing threeelements:(a)falseand defamatory statementsofand concerning a
       privateperson,(b)withoutreasonablecareasto thetruth orfalsity ofthose statements,and
       (c)resulting inactualdamagetothatprivateperson.Referto thecasesHay v.lndependent
       Newspapers,Inc.,450 So.2d293,295(Fla.2d DCA 1984),Bassv.Rivera,826So.2d 534,
       535(F1a.2:1DCA 2002),and TribuneCompany v.fevin,426So.2d 45,46 (Fla,2d DCA
        1982),afhrmed,458So.2d243(FIa.1984).
    66.Plaintiff is a private figure. Though she hasreceived lim ited m edia attention due to herwork
        and academ ic accom plishments,she is stilla private figure. N evertheless,the cause ofaction
        dem onstratesactualm alice as itshowsthe publications by M ainiwere m adew ith know ledge
        thatitwasfalse and with recklessdisregard ofw hetheritw asfalse ornot. Referto the cases
        Hochv.Rissman,Weisberg,Barrett,742So.2d451,460(FIa.5thDCA 1999),rev.denied,
        760So.2d948 (F1a.2000).SeealsoM ileM arker,lnc.v.PetersenPublishing,L.L.C.,81l
        So.2d 841,845(Fla.4th DCA 2002);Dockery v.Florida DemocraticParty,799 So.2d 291,
        294(F)a.2dDCA 2001);Scholzv.RDvsports,lnc.,710So.2d618,626(Fla.5thDCA
        l998),rev.denied,718So.2d 170 (Fla.1998).
    67.The offending defam atory and libelousconductbegan in February of2016,when partiesm et,
        continued afterengagem entin N ovem berof2016,and continued even afterPlaintiffbroke
        offthe engagem entatthe end ofJanuary of20l7.A ftera m ere eleven-m onth relationship,
        defendantM ainihascontinued harassing,cyberstalking,and stalking Plaintiffand herfam ily
        forovertwo and a halfyears. Plaintiffwasunw illing to reconcile aftercom ing to term sw ith
        M aini'sm isrepresentation ofhim selfand hisbackground alongside hisfrightening levelsof
        violence including butnotlim ited to regularbeatingsw ith beltsand strangulation and
        polarizing m entalinstability w ith scream ing m atches in restaurants.N otlong after,Plaintiff
        and herfam ily discovered thathe had been abusing illicitdrugsranging from cocaineto
        mushroom s,continuing to binge drink alcoholdespite going to alcoholrehabilitation forover
        fouryears,continuing to use fake identification and severalaliasesto solicitsex from m inors
        and prostitutes,and he had been exploiting wom en acrossthew orld forsportand sexual
        gratification throughoutthe relationship and the engagem ent. H is methods ofrecruitm ent
         involved using variousonline dating apps,in person shopping m allpickups,and in person
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       university studentpickups wheneverPlaintiffwas outoftow n presenting heracadem ic
       research atconferences.
    68.Since Plaintiff'sdecision to partw aysw ith DefendantM ainiatthe end ofJanuary of2017,
       and finalizing itatthe startofFebruary of2017,M ainihas engaged in a deliberate cam paign
       to destroy Plaintiffby spreading countlessrum ors,lies,and otherfalsitiesto m em bersof
        Plaintiff ssocialand professionalcircles,asw ellasto people on the lnternetwho Plaintiff
       doesnotknow . M ainihasalso hacked heremail,Facebook,lnstagram ,and Twitteraccounts
        on num erousoccasionsand attem pted to sabotage Plaintifpsprofessionaland academ ic
        careeroutofjealousy.
    69.M ainiisa m isogynistw ith a deep hatred ofwom en who hasutilized m ultiple SIM cardsto
       jugglehismanysidewomen,mostofwhom weremarriedwithchildrenandfew ofwhom
        were single. A 1lsuch side w om en w erepursued behind Plaintiff'sback w hen Plaintiffand
        M ainiwere engaged to be m arried via traditionalIndian arranged m arriage m atchm aking.
        Plaintiffw asalw aysfaithfulto M aini,butthatsame courtesy w asnotreturned w ith M aini
        regularly chasing a form erstripperin his econom ics program alongside dozens ofuneducated
        waitressesand aboutseven differentmarried wom en,one ofwhom w aspregnant, M ainialso
        had a prolonged affairw ith histlatm ate,an uneducated Thaiw aitressw ho regularly
        undressed in frontofhim . Though M ainirespected Plaintiff sabstinentvirginity,he told her
        on m ore than one occasion,tCIhave needsyou're notgoing to fultslland there are girlshappy
        to m eetm y needs in w aysyou refuseto.'' M ainicontinued w ith thisline ofreasoning even
        when Plaintiffreported him to a11elders in the situation,including herparentsand his
        parents. Som e action w astaken afterreporting M ainito hism other,butno im provement
       stepsw ere m ade.
    70.M ainiisa pedophile who w atched aboutfifty hoursofpornography perweek,spanning
        hardcore child pornography ofunderaged girls,hentaipornography ofunderaged Japanese
        girls,and extensive pornography ofKorean girls. The predom inantsearch interestson
        M aini's laptop include the key term sçkunderage l0,'5CCPreteen,'''ébracesr''Cctoddlersexr''
        ûitoddlerspanking sexr''dstoddlercorporalpunishmentr''and iirough toddlersex.''
     71.ln a1lcases M ainiacted alone,to com m itthe following illicitand libelouspostings in
        furtherance ofhisschem eto defame Plaintiffand to destroy herreputation'
                                                                               .
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             Publicized false accusationsthatPlaintiffwas verbally and em otionally abusive to
             him ,and thatshew asguilty ofrepeated ûibarhopping.''Plaintiffdoes notand has
             never im bibed alcoholdue to herreligiousbeliefs, doesnotattend bars,and isan
             abstinentvirgin.The only person Plaintiffhaseverkissed isM aini, and thatwas only
             afterhe announced his intentionsto m arry.
             Publicized false accusationsthatPlaintiffwasguilty ofa ddw hite fetish''and içcheating
             w ith so m any m en he lostcount.'; Plaintiffisan abstinentvirgin w ith no fetishes, no
             experience ûtdating''whitem en,and has made a com m itmentto save herselffor
             m arriage from age ll. ln reality,DefendantM ainicheated on Plaintiffrepeatedly
             w hen she washospitalized fornerve dam ageand throughouttheirengagem ent, m ost
             notably w ith one ofhiseconom icsclassmates. Plaintiffhasbeen so traum atized by
             thisexperiencethatshehasrejectedcountlessarrangedmarriageofferssincethen.
             Publicized false accusationsthatPlaintiffdçhasa colorfulhistory w ith gigolos''w hen
             Plaintiffis an abstinentvirgin and hasneverstruggled attracting genuine m ale
             attention. She isa form erbeauty queen.
         d. Created im postersocialm edia accountsto harassand intim idate Plaintiff, and also asa
             platform to dissem inate falsehoodsaboutPlaintiffto affectherability to earn adm ission into
             academ ic fellow ship program s.
         e. lmpersonated Plaintiffon Twitter,Facebook,Instagram , Linkedln,Snapchatsocialm edia
            profiles using her likenessand personalinform ation.
         f. lm personated Plaintiffon m ultiple felmale-seeking-transsexualdating sites using herlikeness
            and personalinform ation,including butnotlim ited to herphone num berand a dem and for
            visitorstoCigetjiggywithit'' aphrasePlaintiffwouldneveruse.
         g. Harassed plaintiff's fam ily m em bers,friends, businesscontacts,couture clients,artwork
            clients,and others.
         h. W idely dissel
                         m inated em barrassing childhood photosofPlaintiffw ithoutherconsentto
            m em bersofhis pedophilia socialcircles,seeking to solicitSûscaled 1to 10 ratings''of
            Plaintiff'sphotographstaken from ages3 to 12. M ainihad an im age ofPlaintiffatage 3 set
            ashis screensaverand asa blow -up im age,ostensibly used forsexualfantasy purposes'
                                                                                              ,

         i. lnterfered w ith Plaintiff sexisting and prospective businessrelationshipsw ith the intentof
            im paoting herIivelihood and destroying herprofessionalreputation;


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               Used extortion tacticsto coerce Plaintiffand herfam ily to pay a ransom on top ofthe
               existing theirlum p sum dowry paym entwhieh wasnotreturned considered a cultural
               transgression and a severe m oralûcrim e'in thetraditionalH indu com m unity.
               M ainiknowingly m anipulated facts, lied,distorted reality w hen he m ade accusationsoffraud
               againstthe Plaintiffin various BasherW ebsitesbetw een July 2017 to M ay 2019, calling her
               a range ofnam esand accusing herofm isconductin academ ic, professional,and personal
               settings. M ainiis anoted con artistw ho notonly stole Plaintiffs dow ry, butalso stolethe
               dow riesofm ultipleothereligible young Indian w omen in the arranged m arriage com m unity.
               M aini,w ho regularly m isrepresentshisage asyoungerthan he isto pursue m uch younger
               and m uch m ore attractive w omen,hasa habitofpathologicalIying and obfuscating reality.
               Hisdelusionsofgrandeurofpursuing politicaloftsce coupled w ith hisinsistence on belittling
               and degrading Plaintiff,who wasa supportive partnerto him , on a nearly daily basisled to
               M aini'screation ofa fake Craigslistposting soliciting transsexualvisitorsto contactPlaintiff
               viatextm essage. M ainiposted Plaintiff'spersonalcellphone num berand em ailaddressto
               anuntoldnumberoftranssexual(male-to-femaleandfemale-to-male)visitors,inaneffortto
               paintPlaintiffas som eone interested in m arrying a transsexualto the broaderlndian
               com m unity. Thiswasdone in Iarge pal' tto affectPlaintiff'sarranged m arriage prospects. In
               fad ,the dam age w asso severe thatPlaintiffand l4erfam ily had to em ploy tw o W estern
               arranged m atchm aking com pany to continue fielding offers from eligible suitorsem pathetic
              to the incredibly distressing situation. Priorto this, Plaintiffwas seen asthe m ostdesirable
               catch in the arranged m arriage m arketplace,w ith m arriage offersfrom prom inentIndian
              m edicaland businessfam ilies around the w orld.
    72.M ainisentm ultiple harassing em ailsto Plaintiffsdiabetic parentsstating clearly thathe would
       continue posting libel.
           a. A copy ofthe exacttextDefendantM ainiused to harass and intimidate herparentson
              July 20,20l7,isposted below .
                          1am ...givingyou...a chance to handle thisyourselves, beforethis
                          situationgetsoutofcontrol.Pleasetakethisopportunity.1am sureyoudo
                          notwanttohavetodealwiththisyrcofthingdayaherday,wcc/cajter
                          wtdc/c,month tz
                                        -/
                                         àt?rmonth in theyearsto come....1canguaranteeyou that
                         Iwillabsolutely neverpostanything aboutJAbc/orherfamilyonline.
                                                                         .
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                       Thatwould be terrible.1willhave nothing to do with it. adny,action 1take
                                                                                   .


                       wouldbethroughojhciallegalchannels.However,therearesomany
                       people outthere named 'Anonymous''.And thesepeople named
                       'Anonymous''aresuch unpredictablejblks,youneverknow whatthey are
                       going to do ors'J.y'next.Every time there /5'an 'Anonymous''postabout
                       me,therecould bea-
                                        $'!'
                                           r?7,
                                              '/f?rpostby 'tdr/tpr/yrptpzf-s
                                                                           '''aboutJAbc/and her
                                                                                       .


                      family.Nobodywantstoseethathappen.Thingswouldspiraloutof
                       control,allhellwould break loose. Lawyers willnotsolve this ïé'
                                                                                     5'l/c The
                                                                                             .


                       internetis a lawlessplace.
         b. A copy ofthe exacttextDefendantM ainiused to harassand intim idate herfatheron January
            24,2019,aftercybersm earing herand herfam ily isposted below . Upon receiving no
            responseto thisem ail,M ainiproceeded to callPlaintiff'sparents Stchild abusers.'' Further,
            he called Plaintiffan ûtem ancipated m inor''w ho had a (ksad childhood''w here she
            experienced ttdifficulttim esatCountry Day''on countlessBashing W ebsites. Plaintiffw as
            neveran em ancipated m inorand transferred herlegalguardianship w ith parentalperm ission
            dueto intensive bullying and cover-up activitiesthatwenton atthe prep schoolin which she
            was enrolled. Thisisan invasion ofPlaintiff'srightto privacy. Intim idation isa crim e.
            M ainicurrently facescrim inalcharges forcyberstalking and intim idation due partly to his
            behaviorand partly to thisem ailbelow :
                       Iwould like to check withyou Ac-/brt
                                                          dlproceed.Areyouawareo$'anddoyou
                       supportyour daughter'
                                           s legalaction agkpainstme?J'
                                                                      yt??
                                                                         ,/dosupportit,that8,
                      fne,justIetmeknow.1willhleacro-  n'claim incourtnextwcck However,you
                      shouldbeawarethatyou,A' frA'I'
                                                   KoelandHorstwillalsobenamedand included
                                                           .



                      inthecrossclaim.Inaddition,ofcourse,yourdaughter'sstorieswillbeputtothe
                      testintwcopencourt,andherlfeandtimeswillbecomeapermanentIegal
                       record,and 1willalso getto have my say.M ore importantly, 1willalsopress
                       homicidechargesagainstyourdaughterjbrherroleinthedeathofmyfather.
                       Youaretheelderpersoninthissituationandhavethewisdom ofmanyyctzr-
                                                                                      s'of
                       experience.1am surethatyouhaveworkedhardforeverything thatyouhave.1
                       am making onem ore attemptto reach outtoyou to settle this matter between
                       ourselvesbeforethesituationspiralsoutofcontrol....Despitethefactthatyou


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                                   Koelhavebeenrudetopkc,15,//
                          and M rsI'    .                    '//donotwantto5,c(dyourfamilyruined
                          or humiliated inpublic on a globalstage.ltisnottoo Iate to settle the matter
                          am ongstourselves.
    73.M ainifirstbegan placing Plaintiff s nam e on Bashing W ebsitesin July 2017. To addressthe libelin
       allsuch postswhich w illbe m ade available in fullform to opposing counselin discovery:
              M ainiaccused Plaintiffofusing a false nam e,when she changed hernam e legally from in
              Portland,Oregon in June 2017. M ainiaccused Plaintiffof(igoing by''the nam e thatisher
              true,legalnam e.
           b. M ainiaccused Plaintiffofûistalking a rapist.'' The person M ainiis referring to is M r.
              M cLeod,w ho wasa personalfriend ofPlaintiff. Plaintiffand M r.M clweod w erefriendsfor
              m any years. A fterM r.M cl-eod w asfalsely accused ofrape athisuniversity and unableto
              obtain his diploma,Plaintiffhelped him w ith fundraising effortsforhisnon-profit
              m icrolending organization Bunya M icrofinance by personally donating to hiscause and
              organizing a crow dfunding cam paign. W hen Plaintiffwasin Sydney conducting ground-
              breaking m edicalresearch thathasreceived patentpending statusand isnow in phase 1
              clinicaltrials in both the United Statesand the United K ingdom ,M r.M cLeod asked Plaintiff
              to ûûcoffee''and éûa bite to eat''on m ultiple occasions,which Plaintiffdeclined respectfully
              solely dueto herexisting com m itm entto M aini, M r.M clweod also asked Plaintiffto dance at
              a mutualfriend'sbirthday party,which she respectfully declined outofrespectforher
              existing com m itm entto M aini.
              M ainiisthe only person w ith whom Plaintiffhas everFrench kissed. On one occasion,after
              eating too m uch candy,Plaintiffaccidentally said M r.M clweod'snam e when M ainiasked
              Plaintiffaboutwho she definesasa Ckhotguy''in f5lm and daily Iife as partofa dinnergam e.
              Theinnocuouscomment,madeentirely injest,wasnotmeantinanywayasaslightto
              M aini. Thiscom m entled to M ainiconstantly accusing Plaintiffofcheating with M r.
              M clweod when the entirety oftheirfriendship wasonline,and the fullestextentoftheirin
              person conversation w asm aybe 15 m inutes and then M ainiescalated a pattern ofdisturbing
              stalking behaviorofboth Plaintiffand M r.M clweod. M ainibegan using geo-location trackers
              on Plaintifpscellphone and accusing Plaintiffoficheating'on him and ofChaving a white
              fetish.' Furtherm ore,M ainialso stalked,physically assaulted,and verbally threatened M r.
              M cLeod on security cam era,accusing him ofCcgoing after',Plaintiff,when thisnever
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             occurred.Mr.MclweodandPlaintiffwerejustfriendsanddidnotremaininanykindof
             contactafterPlaintiffentered into a relationship w ith M aini. ln fact,M r.M clweod entered
             into a bisexualrelationship notIong afterPlaintiffrebuffed hisadvances. Underno
             circum stancesdid Plaintiffeverhave any kind ofrelationship w ith M r.M cLeod,and under
             no circum stanceshas Plaintiffeverhad a fetish,letalone forwhite m en. She isa com plete
             abstinentvirgin who doesnothave any fetishes. However,M ainihasa strong fetish for
             underaged prepubescentgirlsbetween ages2 to 11asw ellasEastAsian and M editerranean
             W om en .

          d. MainiaccusedPlaintiffof(dmovingnexttothegresidentiallcollege''nexttoMr.Mcl-eod.
             Plaintiffwasneverenrolled in any academ ic coursew ork atany universitiesin Australia.
             Shew as in A ustralia on a temporary visitorvisa,due to herscientific research com m itm ents
             which have resulted in a m edicalsupplem entforpatients with a rare disease thathasalready
             received patentpending statusand hasentered Phase l clinicaltrials. By contrast,M r.
             M cLeod wasa full-tim e studentin the law school,and by al1accountsseem ed happy to be
             pursuing a bisexualway oflifew ith hiscom m itted m ale and fem ale partners.
          e. M ainiaccused Plaintiffofçccontractcheating''and hiring m en to ûûwrite hercollege essays
             and exam s''w hen Plaintiffhasalw aysdone herown w ork and graduated atthe top ofher
             academ ic class. This attack on Plaintiff'sintegrity com esafterM ainihasduped,cheated,
             and stolen m illionsofdow ry dollarsfrom highly eligible young lndian w omen and paid for
             his academ ic w ork on an outsource basis. M ainistrugglesw ith spelling,gram m ar,and
             punctuation,and isunable to use spell-check effectively in his libelousposts.
          f. M ainiaccused PlaintiffofCitlunking outofGeorgetow n''when Plaintiffiscurrently earning
             an LLM in internationaltaxation law from Georgetow n U niversity Law Center. To the best
             ofherknowledgesshe hasneverttflunked out''ofany institution ofhigherlearning,though
             M ainihasstruggled academ ically and professionally forthe entirety ofhis life.
          g. M ainiaccusedPlaintiffofreceivingtûplasticsurgery,''whenPlaintiffhasonlyreceivedjaw
             surgery,reconstructivejaw surgery,andreconstructivenervedamagesurgery,allofwhich
              she obtained due to verbalabuse and pressure from M aini. On a daily basis,M ainispent
              hourscriticizingPlaintifpsappearance,particularlyherjaw andchinandcomparingher
              unfavorablytoBollywoodactressKareenaKapoorwhohasastrongchinandjawline.Maini
              toldPlaintifftogetjaw surgerytolookmorelikeKareenaKapoor.Plaintiffdidnotwantto
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              undergoadangerotlssurgeryandsoagreedtojaw anglesilasticimplantsandasliding
              genioplasty surgery to give the Kareena Kapooreffect. Unfortunately,there were issues with
              the silastic im plantsand the genioplasty w asm edicalmalpractice,so Plaintiffhad them
              removed and reversed,respectively.
              MainiaccusedPlaintiffofnottakingmedicalI
                                                     malpracticelegalactionagainstherjaw
              surgeon,w hen she filed a m edicalm alpractice complaintagainstthe surgeon in A prilof20l8
              and hasbeen running discovery and deposition strategy forthe case in addition to her
              rigorous law schoolacadem ic course-load.
              M ainiaccused Plaintiffofattending a hostofuniversitiesshe neverattended asa student,but
              instead asa m iddle schooland high schoolstudentgoing to sum m ercam p academ ic
              enrichm entprogralms,to m align Plaintiff snam e in b0th the greateracadem ic com m unity
              and the greaterlndian arranged m arriage com m unity.
              M ainiaccused Plaintiffofpursuing him ,when he pursued herand herfam ily relentlessly
              beginning on February 20,2016,leading to an engagem entonN ovem ber 1,20l6,and setting
              and booking a w edding date forFebruary of2017. During aIlstagesoftherelationship,
              M ainiwasthe aggressor,and he cheated incessantly during the relationship. H is
              m isrepresentationsand abuse 1ed Plaintiffto end the engagem entwellin advance ofthe
              w edding date.
              M ainiaccused Plaintiffofhypochondria dueto herlactose intolerance and celiac disease
               m edicalconditions,causing herto vom itwhen on dinnersw ith him w hen he force-fed her
               gluten-filled breads and soy-filled tofu,to m align hernam e in image-consciousfashion
               professionalcircles.
               Reasonably understood,M aini'sstatem entsam ountto accusations ofseriousand
               reprehensible conduct,asw ellasthe im plication thathe w asguilty ofacadem ic,personal,
               and professionalm isconduct,notwithstandingherpending offerth becomeafaculty member
               ata top-ranked university. M aini'sconductalso im puted to Plaintiffa w antofintegrity and a
               lack ofcom petency in heracadem ics,arranged m arriage pathway,and em ployment.
     74.M ainiwasso intenton destroying Plaintiff sgood nam e and reputation thathe took painstaking
        effortsto m akethe false accusationsand libelsound credible to those hearing them ,even thoseclose
        to Plaintiffw ho had no reason to believe M ainiorto doubtthe Plaintiff. M aini'spostswere crafted
        in such a w ay asto inspire beliefand sym pathy on the partofrecipients ofthe false inform ation.



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        M ainiknew orshould have expected that,upon review ing these defam atory posts, othersw ould
       retaliate againstPlaintiffdirectly,distance them selves, and proceed w ith caution. M ainispecifically
       chose to raise hispostrate in 2019 dueto Plaintiff'sfam ily placing herin the handsofam ore
       experienced lndian arranged m arriage m atrim onialservice.
    75.There isno physicalorothertangible evidenceto substantiate claim sthatthe Plaintiffengaged in
       any ofthe egregiousconductM ainioutlines. M aini's statem entswere know ingly false and/orstated
       with such recklessdisregard forthe veracity ofthe accusationsand the foreseeable, devastating harm
       they would cause to Plaintiff sreputation and arranged m arriage prospects.
    76.M ainihasbeen relentless in hiseffortsto discreditand destroy the reputation ofPlaintiff, and he
       continuesto publish defam atory statements consistentw ith those stated therein asw ellas som ethat
       are inherently hidden and undiscoverable by Plaintiff. Herinvestigation continues.
    77.Plaintiffhas no way ofknow ing w ho believed som eorallofthe false statem entsm ade by M aini, nor
       can she truly assessthe identity,scope,and sheernum berofpeople im pacted by M aini'sfalsehoods
       to the detrim entofPlaintiff.
    78.M ainiknew ,orw ith substantialcertainty should have know n, thatthese accusationswould be re-
       published by Bashing W ebsites and w idely dissem inated in the com m unity w here Plaintiff lived and
       worked,aswellasthroughoutthe United Statesand beyond. A disclaim erexists on
       Liarsandcheaters.com ,indicating thatany posts made there can and w illbe spread to othersites.
       M ainisigned aterm sand conditionsagreementacknowledging hisawarenessofthisfact.
    79.Thisfalse publicity invaded Plaintiff'spersonaland professionalcircles, caused undue ridicule,and
       w illcontinue to have a dem onstrable,adverse im pacton Plaintiff's livelihood in fashion, her
       physicalsafety,herem otionalw ell-being,and herarranged m arriage prospects. Plaintiffwas unable
       to invite pressto three fashion show saspreviously scheduled dueto the enormousburdens asa
       resultofthislibeland abuse. Plaintiffbecam e a herm it,avoiding socialevents, pausing allarranged
       m arriage m atchm aking efforts,and taking offtim e from herstudies, delaying hergraduation by an
       additionalyear.
    80.M aini'spublication ofthese false accusations im paired Plaintifpspersonaland professional
       reputation during all-im portantFashion W eeksand effectively elim inated herability to pursue an
       arranged m arriage,in the com m unity w here she livesand w orksand beyond, and has resulted in
       severe em otionaldistress,hum iliation,em barrassm ent,m entalsuffering, and suicide attem pts. The




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       Plaintiffalso suffered dam ages,including SEO service fees,rem ovalfees,lostincom e and
       opportunities,m edicalexpenses,therapy expenses,and dam age to herfutureearning capacity.
    81.WHEREFORE,thePlaintiffpraysthatajudgmentbeenteredagainsttheDefendantinanamount
       fairandjust,butnolessthanTwoHundredThousandDollars($200,000)incompensabledamages,
       aswellasexemplary dam agesintheamountofOneM illion Dollars($1,000,000)forhiswillfuland
       contum aciousdisregard forthe Plaintiff sem otionaland physicalwell-being,and the foreseeable
       im pacthisconductwould have on Plaintiff'sreputation asa respected,upstanding m em berofher
       community.PlaintifffurtherrequeststhatDefendantMainibeissuedapermanentinjunctionand
       enjoinedfrom anyfuture,similarconduct,andthathebeorderedtoremoveanyexisting,offending
       socialmediaprofilesorposts.Plaintiffseeksal1otherreliefthisCourtdeemsappropriateandjust
       underthe circum stances.


                                   TH IRD CA USE O F ACTION
                                     IN VA SIO N OF PRIVA CY
                                    AgainstAmarChanderM aini

    82.Plaintiffincorporates by reference each and every allegation contained in the preceding paragraphs
       ofthiscom plaintas iffully setforth herein.
    83.To state a cause ofaction forinvasion ofprivacy,Plaintiffw illprove thefollow ing three
       elements:(a)appropriation,theunauthorizeduseofaperson'snameorlikenesstoobtain
       somebenefit;(b)electronicintrusionintone'sprivatequarters;(c)publicdisclosureof
       private facts,m eaning the dissem ination oftruthfulprivate inform ation which a reasonable
       personwouldfindobjectionable.
    84.Plaintiffconfided a num berofchildhood traum asand personalsecretsto M aini. Plaintifftrusted
       M ainiwould alwayskeep hercontidences,particularly aboutthe false accusationsand rum ors ather
       privatehighschoolwhereshewassubjecttophysicalviolenceandemotionalabuseatthehandsof
       both faculty mem bersand students. ln one case,Plaintiffwasshoved into a gym lockerand had an
       asthm a attack,and the schoolfailed to intervene on herbehalf. Plaintiffrevealed to M ainithe extent
       ofhernegative priorexperiences,w ith the understanding thatthey w ould rem ain private and
       confidentialata11tim es. M ainitook thisprivate inform ation and published m ultiple tell-all
        W ordpress and BloggerpostsaboutPlaintiff,m ixing l5% oftruth w ith 85% oflibel,ridiculing her
       forw hattruly w asa difficultchildhood and a num berofdifficultexperiences. The circum stances of
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       herdifficulthigh schooleducationalexperience and the sheeram ountofslandershe faced atthe
       handsofsociopathsatthatparticularschoolare notin the public interestasPlaintiffisa private
       individualand isnot and hasneverbeen a public individual.
    85.Plaintiffdecided to do atransferto anotherschoolduring thefirstterm ofhersenioryearofhigh
       schoolto protectherphysicalsafety from aggressive individualsattacking herphysically ather
       preparatory school. She m ade thisdecision withoutnotifying herparents orherschoolin advance.
       Plaintiffpacked herbags and lefttown. A successfulauthorata young agew ho published herfirst
       tw o booksas ateenager,she received substantialenough royaltiesto becom e financially independent
       from age 17 and used thisto heradvantage. Despite the variousadversities she faced,Plaintiffstill
       graduated w ith a classrank of2 outof378 students in herhigh schoolclass and earned a full
       scholarship to the guaranteed adm ission BS/M D university program ofherchoice. M ainitw isted the
       experience around and labelled heras a dtrunaway''w ho Sslived on the streets,''when Plaintiffwas
       living ina$3,000 permonthapartmentinan exclusive,gatedcommunity and herfirstcaratage 16,
       given by herparents,w as abrand-new Lexus.
    86.Plaintiffalso confided thatshe was estranged from herm otherfrom the period 2009 to 20ll,when
       Plaintiffdecided to initiate a schooltransferby inform ing herfatherand notinform ing herm other
       untilshe m ade herdecision. Plaintiff's m otherand Plaintiffhad disagreem ents aboutfuture college
       adm ission prospectsw ith a senioryeartransfer,which hasnow been resolved;atallpoints,this
       dispute wasa private one thatnevertook aw ay the deep love and affection the two have always
       shared. Upsand downs are norm alpartsofthe m other-daughterrelationship.N evertheless,M aini
       invaded the privacy of Plaintiffand herm otherby posting false accusationsaccusing Plaintiff's
       m otherofbeing a ischild abuser''on dozensand dozensofw ebsites. Plaintiffisnota child;she isan
       adultofage 27. Plaintiff'sm otherneverabused herasa child,and even ifthere wasdabuse'perse it
       is notin the public interestforthatinform ation to be public. Private disagreem entsand using
       phraseology ofCcabuse''isneitherin the public interestnorofany concern to externalthird parties.
       M ainispecifically posted thisto gain the benefitofexto/ion feesfrom Plaintiff'sfam ily.
    87.lnform ation aboutPlaintiffnotin the public interestand M ainiinvaded the privacy ofboth Plaintiff
       and herm otherby posting herfullmarried nam e on dozensofwebsitesfilled w ith libel.
    88.Plaintiffaccidentally leftthe passw ord to herprivate digitaldiary and herprivate em ailon herlaptop
       case. Underno circum stanceswould Plaintiffevershare herpassword with anyone. Based on
       inform ation and belief,M ainihacked Plaintiffsemailbetween August 13 to 17,2016,dow nloaded
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       privatefilesand notes none ofw hich can be adlnitted into evidence due to the crim inalhacking
       and then began an em ailcam paign to Plaintiff'sresidence, herresearch colleagues,and her
       laboratory rcsearch adm inistratorsm aking false and baselessclaim saboutPlaintiff. M aini's
       objectivewastodevelopfurtherasiderelationshipwithoneofhismanymistresses,oneofwhom he
       m etin hiseconom ics program and m etw ith w heneverPlaintiffwas outoftown. To be specific,
       Plaintiffw as in Seoulfrom 23 Augustto 27 August20l6, and during thattim e M ainiarranged
       dinnerand m ovie datesw ith his m istress. She declined his last-m inute Friday nightm ovie date but
       theyultimatelymetwheneverPlaintiffwasoutoftown,whileMainicontinuedjugglinghisvarious
       additionalside w om en. ln particular,when Plaintiffwasin M elbourne on a medicalresearch trip
       from 19 to 22 Septem ber2016,M ainim etw ith hiseconom icsclassmate behind Plaintiff'sback and
       withoutherperm ission.
    89.WHEREFORE,thePlaintiffpraysthatajudgmentbeenteredagainsttheDefendantinanamount
       fairandjust,butnolessthanTwoHundredThousandDollars($200,000)incompensabledamages,
       aswellasexemplary damagesin theamountofOneM illion Dollars($1,000,000)forhiswillfuland
       contum aciousdisregard forthe Plaintiffsemotionaland physicalwell-being,and the foreseeable
       impacthisconductw ould have on Plaintiff'sreputation asa respected,upstanding m em berofher
       community.PlaintifffurtherrequeststhatDefendantM ainibeissuedapermanentinjunctionand
       enjoinedfrom anyfuture,similarconduct,andthathebeorderedtoremoveanyexisting,offending
       socialmediaprofilesorposts.PlaintiffseeksallotherreliefthisCourtdeemsappropriateandjust
       underthe circum stances.


                                      FO URTH CAU SE OF A CTIO N
        RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS:18U.S.C.j1962(c)
             AgainstAIlDqfendantsEngagedinBashing WebsitesandRemovalWebsites
    90.Plaintiffincorporates by reference each and every allegation contained in thepreceding paragraphs
       ofthiscom plaintas iffully setforth herein.
    91.ThisCountis againstDefendants:G uaranteed Rem ovals,Repze,Expel'tRem ovals,lnternet
       Rem ovals,M arca G lobal,Am arutu Technology,M inc Law ,Kevin A ngileri,Ronald Linco,M ichael
       Schern,Jam esJohn,Jim Burns,ScottBreitenstein,Arm an Alid/b/a 134 SolutionsBD,Vikram
       Parm ara/k/a M attHam p and M artin Horan,and John D oes l-15. Hereafter,Count4 Defendants.
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    92.Bashing W ebsitesand Rem ovalW ebsites,term sdetsned above,areassociation-in-factenterprises
       engaged in and w hose activities affectinterstatecom m erce.The Count4 Defendantsare associated
       w ith the enterprises.
    93.The Count4 D efendantsagreed to and did conductand participate in the conductofthe enterprise
       affairsthrough a pattern ofracketeering activity and forthe unlawfulpurpose ofintentionally
       defrauding Plaintiff.Specifically:charging Plaintiffforrem ovalsofposts,copying and pasting those
       poststhroughoutthe Internet,failing to remove allcopiesofposts,and then harassing Plaintiffto
       pay forstillm ore posts.
    94.Pursuantto and in furtherance oftheirfraudulentschem e,Defendantscom m itted m ultiple related
       actsofextorting m oney from Plaintiffostensibly to ûtrem ove''aIlpostsonly forthem to laterre-post
       posts and dem and even higherextortion rem ovalfees.
    95.The acts ofextortion setforth above constitute a pattern ofracketeering activity pursuantto 18
       U.S.C.j 1961(5).
    96.The Count4 Defendantshave directly and indirectly conducted and participated in the conductof
       the enterprise'saffairsthrough the pattern ofracketeering and activity described above,in violation
       ofl8U.S.C.j1962(c).
    97.Asa directand proxim ate resultofthe Count4 Defendants'racketeering activitiesand violationsof
        18U.S.C.jl962(c),Plaintiffshavebeeninjuredintheirbusinessandpropertyinthatfashionshows
       have had to be rescheduled,presshashad to be canceled,lookbookshave had to be shielded from
       m edia attention,and Plaintiffhas had to reduce herprofsle as atop em erging designer. The
       Streisand Effectisso pervasive thatPlaintiffsonly option hasbeen to shiftand change herentire
       businessplan.Thisinjurystemsfrom thepredicateactsofracketeering.PertheSupremeCourt
       decisions in H olmes v.Secs.InvestorProt.Corp.,Anza v.ldealSteelSupply Corp.,and Bridge v.
       PhoenixBonddrIndem.Co.,PlaintiffhasshownbothSsproximatecause''andûûinjury infact.''The
       Defendantsm ustbe held legally liable forthe dam agethey have done to Plaintiff;see the case
        Trollingerv.TysonFoods,lnc.TheinjuriesPlaintiffsufferedwerenotreasonablyforeseeable,per
        Trollinger,370 F.3d at615.
    98.Plaintiffpaid extortion feesto the Rem ovalW ebsites,which m eetsthe Courtstandard for
       dem onstrating a Ccconcrete financialloss''asperthe cases Taxable M un.Bond Secs.Litig.,51
       F.3d518,523(5th Cir.l995).,Fleischhauerv,Feltner,879F.2d l290,1299(6th Cir.1989),
       Imagineering,Inc.v.KiewitPac.Co.,976 F.2d 1303,l3l0 (9th Cir.1992),and Berg v.First
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                                                         Plaintiffpaid the extortion m oney overa
       sustained period oftim e before deciding to take legalaction. Receipts w illbe m ade available
       to opposing counselim m ediately upon sending outthe firstsetofinterrogatories and requests
       forproduction. Plaintiffisnotattaching receiptsto thispublicly available law suitto protect
       herprivacy.
    99.Plaintiffrelied upon the kibut-for''causation in paying the Rem ovalW ebsites.
    100. W HEREFORE,thePlaintiffpraysthatajudgmentbeenteredagainsttheCount4Defendantsin
       anamountfairandjust,butno lessthanOneHundredThousandDollars($100,000)incompensable
       dam ages,asw ellas exem plary damages in the amountofO ne H undred Thousand D ollars
       ($100,000)forthewillfulandcontumaciousdisregard forthePlaintiff'sbusinessand theforeseeable
       im pactthis conductw ould have on Plaintiff sreputation asa respected,upstanding m em berofher
       com m unity. PlaintifffurtherrequeststhatDefendantsrem ove hernam e and photo from allassociate
       websitesfreeofcharge,beissuedapermanentinjunctionandenjoinedfrom anyfuture,similar
       conduct,and thatbe ordered to remove any existing,offending socialm edia profiles orposts.
       Plaintiffseeksa1IotherreliefthisCourtdeemsappropriateandjustunderthecircumstances.

                                           FIFTH CA USE O F ACTION
        M CKETEER INFLUENCED AND CORRUPT ORGANIZATIONS:18U.S.C.j 1962(a)
             AgainstAIlDefendantsEngagedinBashing WebsitesandRemovalWebsites
    101. Plaintiffincorporates by reference each and every allegation contained in the preceding
       paragraphsofthiscom plaintasiffully setforth herein.
    l02. ThisCountis againstDefendants:G uaranteed Removals,Repze,ExpertRem ovals,lnternet
       Rem ovals,M arca Global,Am arutu Technology,M inc Law,Kevin Angileri,Ronald Linco,M ichael
       Schern,Jam esJohn,Jim Burns,ScottBreitenstein,Arm an A lid/b/a 134 SolutionsBD,Vikram
       Parm ara/k/a M attHam p and M artin Horan,and John D oes 1-15. Hereafter,Count5 Defendants.
    103. Bashing W ebsitesand Rem ovalW ebsites,term sdefined above,are association-in-fact
       enterprisesengaged in and whose activitiesaffectinterstate com m erce.The Count5 Defendantsare
       associated w ith the enterprises.
    104. TheCount5 Defendantsused and invested income thatwasderived from a pattern of
       racketeering activity in an interstate enterprise.Specifically:the Bashing W ebsite Defendants
       accepted advertising fees from the RemovalW ebsite Defendants. The Rem ovalW ebsite
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        DefendantsthenchargeabasesetfeetoPlaintit-f(andthousandsofothervictims)which
       w entpartially to the Bashing W ebsites Defendantsand partially to them selves. The incom e
       derived w ashoused both in theU nited Statesand overseas and hasalready led to
       investigation by the U .S.Attorney'sO ffice in A rizona asone Defendant, Kevin Angileri,
       wasrecently released from federalprison forchild pornography and isback atracketeering.
           Theracketeering activities listed above constitutesa pattern ofracketeering activity
       pursuantto l8 U.S.C.j l96l(5).
    l06. Asdirectand proxim ate resultofthe Count5 Defendants'racketeering activitiesand
       violationsof18U.S.C.jl962(a),Plaintiffhasbeeninjuredinherbusinessinthat:shehas
       had to cancelpressatm ultiple fashion shows, reduce herpresence atfashion networking
       events,change herbusinessm odel,and take aterm offofher1aw schoolstudies. The
       injuriestoherbusinessspecificallyincludethousandsofdollarspaidtoRemovalWebsites
       on top ofSEO services. The factthatBashing W ebsitesand Rem ovalW ebsites are investing
       theirillicitiiincom e''into Bitcoin and othercryptocurrencies instead ofdiscontinuing their
       nefariousactivitiesspeaksvolum esaboutthe poorcharacterofthese Defendants. Perthe
       Suprem e Courtdecisions in H olmes v.Secs.Investor Prot.Corp., Anza v.IdealStcelSupply
       Corp.,and Bridge v.Phoenix Bond (:t Indem Co.,Plaintiffhas shown both itproximate
                                                   .



       cause''andSsinjuryinfact.''TheDefendantsmustbeheldlegailyliableforthedamagethey
       have done to Plaintiff;seethe case Trollingerv TysonFoods,Inc.Theinjuri
                                                       .                     esPlaintiff
       suffered w ere notreasonably foreseeable,perTrollinger, 370 F.3d at615.
    107. Plaintiffpaid extortion feesto the Rem ovalW ebsites, w hich m eetsthe Courtstandard for
       dem onstrating a ûiconcrete financialloss''as perthe casesTaxableM un Bond secs.Litig.,5l
                                                                              .



       F.3d 518,523 (5th Cir.1995);Fleischhauerv.Feltner,879 F.2d 1290,l299 (6th Cir.1989),
       lmagineering,Inc.v.KiewitPac.Co.,976 F.
                                   .           2d 1303,13l0(9thCir.1992),andBergv.First
       StateIns.Co.,915F.2d460,464 (9th Cir.l990).Plaintiffpaidtheextortion money overa
       sustained period oftime before deciding to take Iegalaction. Receiptsw illbe made available
       to opposing counselim m ediately upon sending outthe firstsetofinterrogatoriesand requests
       forproduction. Plaintiff is notattaching receiptsto thispublicly available law suitto protect
       herprivacy.
    108. Plaintiffrelied upon the ikbut-for''causation in paying the Rem ovalW ebsites.
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          W HEREFORE,thePlaintiffpraysthatajudgmentbeenteredagainsttheCount5Defendantsin
       anamountfairandjust,butno lessthanOneHundredThousandDollars($l00,000)incompensable
       damages,aswellasexem plary dam ages in the am ountofOne Hundred Thousand Dollars
       ($100,000)forthewillfulandcontumaciousdisregardforthePlaintiff'sbusinessandtheforeseeable
       impactthisconductw ould have on Plaintiff sreputation asa respected, upstanding m em berofher
       com m unity. PlaintifffurtherrequeststhatDefendantsrem ove hernam e and photo from alIassociate
       websitesfreeofcharge,beissuedapermanentinjunctionandenjoinedfrom anyfuture,similar
       conductand thatbe ordered to rem ove any existing,offending socialm ediaprofiles orposts.
       PlaintiffseeksallotherreliefthisCourtdeemsappropriateandjustunderthecircumstances.

                                        SIXTH CAU SE O F A CTIO N
       M CK ETEER INFLUEN CED AN D CO RRU PT O R GA NIZA TIO NS:18 U.S.C.j 1962(b)
                 AgainstAllDefendantsEngagedinBashing WebsitesandRemovalWebsites
          Plaintiffincorporates by reference each and every allegation contained in thepreceding
       paragraphsofthis com plaintas iffully setforth herein.
          This CountisagainstD efendants:Guaranteed Rem ovals, Repze,ExpertRemovals,lnternet
       Rem ovals,M arca Global,Am arutu Technology,M inc Law , Kevin A ngileri,Ronald Linco,M ichael
       Schern,Jam es John,Jim Burns,ScottBreitenstein,A rm an A 1id/b/a ()4 SolutionsBD , V ikram
       Parm ara/k/a M attHam p and M artin Horan,and John Does l-15. Hereafter,Count6 Defendants.
          Bashing W ebsitesand Rem ovalW ebsites,term sdefined above,are association-in-fact
       enterprisesengaged in and w hose activitiesaffectinterstate com m erce.The Count6 Defendantsare
       each associated with the enterprises.
          The Count6 D efendantsused and invested incom ethatwas derived from a pattern of
       racketeering activity in an interstate enterprise.Specifically:the Bashing W ebsite D efendants
       accepted advertising feesfrom the Rem ovalW ebsite Defendants. The Rem ovalW ebsite
       Defendantsthenchargeabasesetfeeto Plaintiff(and thousandsofothervictims),which
       wentpartially to the Bashing W ebsitesDefendantsand partially to them selves. The incom e
      derived w ashoused both in the United Statesand overseasand hasalready led to an
       investigation by the U .S.Attorney'sOffice in Arizona asone Defendant,Kevin A ngileri,
      w asrecently released from federalprison forchild pornography and is back atracketeering.



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    114. The racketeering activitieslisted above constitutea pattern ofracketeering activity
       pursuantto l8U.S.C.j196l(5).
    l15. Count6 D efendantsacquired and maintained interests in and controlofthe enterprise
       through a pattern ofracketeering activity.Specifically:Rem ovalW ebsites advertising their
       rem ovalserviceson Bashing W ebsitesand Rem ovalW ebsitescharging double feesfor
       Plaintiff(and thousandsofothervictims)to removeposts.Someremovalfeesgo directly to
       theRemovalW ebsitesandthemajorityofremovalfeesgodirectlytotheBashingWebsites.
    l16. The racketeering activity listed above of Bashing W ebsite poststhatcharge exorbitant
       removalfeesconstitutesapatternofracketeering activity pursuantto 18U.S.C.j l961(5).
           The Count6 Defendantshave directly and indirectly acquired and m aintained interestsin
       and controlofthe enterprise through the pattern ofracketeering activity described above,in
       violationof18U.S.C.jl962(b).
    1l8. As directand proxim ate resultofthe Count6 Defendants'racketeering activitiesand
       violationsof18U.S.C.j 1962(b),Plaintiffhasbeen injuredinherbusinessinthat:Plaintiffs
       creditcard inform ation has remained stored on f5le by both Bashing W ebsitesand Rem oval
       W ebsites,ontopofthesevereinjuriesshehassufferedenumeratedelsewhere.Theinjury
       here stems from the acquisition ofan intereston orcontroloveran enterprise,and this is
       illustrated bestby the factthatDefendantsare constantly m erging and acquiring new cheater
       assets. lfany ofthem had puttheirbusinessacum en in ahealthy direction,then they m ight
       have becom e superstarsin the m ergers and acquisitionsprofession. lnstead,they are
       defrauding consum ers,including Plaintiff,because the ownership ofwebsiteschanges
        constantly. A san exam ple,M ichaelSchern isan attorney adm it-
                                                                      ted to practice law in the
        stateofArizona,and he recently acquired fullownership ofTheDirty.com from N ik Richie.
        He sim ultaneously runs his law firm and TheDirty.com from the sam e w eb server,m aking
        anywherefrom $1,500to$5,000 perremovalfrom hissite.Thisincomesupplementshislaw
        firm incom e. W hile itisnotexcusable forex-convictsto engage in activitieslike this,itis
        much m ore understandable than a lawyerwho isadm itted into practice in A rizona. Schern's
        behaviorisin directcontrastto the rulesalllaw students have to know to passthe M ultistate
        ProfessionalResponsibility Exam ination. ltisunbecom ing foran attorney to behave in this
        manner. Perthe Suprem e Courtdecisions in Holm es v.Secs.Investor Prot.Cory ,Anza v.
        ldealSteelSupply Corp.,and Bridge v.Phoenix Bond (:
                                                          Q lndem .Cb.,Plaintiffhasshown both


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       ûûproximatecause''andç'injuryinfact.''TheDefendantsmustbeheld legallyliableforthe
       damagetheyhavedonetoPlaintiff;seethecaseTrollingerv.TysonFoods,lnc.Theinjuries
       Plaintiffsuffered were notreasonably foreseeable,perTrollinger,370 F.3d at615.
    1l9. Plaintiffpaid extortion feesto the Rem ovalW ebsites,w hich m eetsthe Coul'
                                                                                   tstandard for
       dem onstrating a (ûconcrete financialloss''asperthe cases TaxableM un.Bond Sec.
                                                                                     %.Litig., 51
       F.3d 518,523(5th Cir.1995).
                                 ,Fleischhauerv.Fc//ncr,879 F.2d 1290,1299 (6th Cir.l989),
       Imagineering,Inc.v.KiewitPac.Co.,976 F.2d 1303,1310(9th Cir.1992),andBerg v.First
       StateIns.Co.,915F.2d460,464(9thCir.1990).Plaintiffpaidtheextortionmoneyovera
       sustained period oftim e before deciding to take legalaction. Receiptsw illbe m ade available
       to opposing counselim m ediately upon sending outthe firstsetofinterrogatoriesand requests
       forproduction. Plaintiffisnotattaching receiptsto this publicly available Iaw suitin orderto
       protectherprivacy.
    120. Plaintiffrelied upon the (ûbut-for''causation in paying the Rem ovalW ebsites.
    l2l. W HEREFORE,thePlaintiffpraysthatajudgmentbeenteredagainsttheCount6Defendantsin
       anamountfairandjust,butnoIessthanOneHundredThousandDollars($100,000)incompensable
       dam ages,as wellasexem plary dam agesin the am ountofOne Hundred Thousand Dollars
       ($100,000)forthewillfuland contumaciousdisregardforthe Plaintiffsbusinessand theforeseeable
       im pactthisconductw ould have on Plaintiffsreputation asa respected,upstanding m em berofher
       com m unity. PlaintifffurtherrequeststhatD efendants rem ove hernam e and photo from alIassociate
       websitesfreeofcharge,beissuedapermanentinjunctionandenjoinedfrom anyfuture,similar
       conduct,and thatbe ordered to rem ove any existing,offending socialm edia profslesorposts.
       PlaintiffseeksallotherreliefthisCourtdeemsappropriateandjustunderthecircumstances.

                                     SEVENTH CAU SE O F A CTIO N
       M CKETEER INFLUENCED AND CORRUPT ORGANIZATIONS:18 U.S.C.j 1962(d)
            AgainstAlIDefendantsEngagedinBashing WebsitesandRemovalWebsites
    122. Plaintiffincorporatesby reference each and every allegation contained in the preceding
       paragraphsofthis com plaintas iffully setforth herein.
    123. This CountisagainstD efendants:Guaranteed Rem ovals,Repze,ExpertRemovals,lnternet
       Rem ovals,M arca G lobal,Am arutu Technology,M inc Law ,Kevin A ngileri,Ronald Linco,M ichael
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       Schern,Jam esJohn,Jim Burns,ScottBreitenstein,A rm an A 1id/b/a 174 Solutions BD ,V ikram
       Parmara/k/a M attH am p and M artin H oran,and John Does l-15. Hereafter,Count7 Defendants.
          Bashing W ebsitesand Rem ovalW ebsites,term s defined above,are association-in-kind
       enterprisesengaged in and whose activities affectinterstate comm erce.The Count7 Defendantsare
       each associated w ith the enterprises.
    125. Assetforth above,theCount7 Defendantsagreed andconspiredto violate 18U.S.C.j
       1962(a)(b)and(c).Specifically:theDefendantsconspiredto:(1)useorinvestincomethat
       isderived from apattern ofracketeeringactivity inan interstateenterprise(j 1962(a)),
                                                                                          '(2)
       acquireormaintain interestsintheenterprisethrough apattern ofracketeeringactivity (j
       1962(b))'
               ,(3)conductandparticipateintheconductoftheaffairsoftheenterprisethrougha
       patternofracketeeringactivity(j1962(c)).RemovalW ebsitesachievedthisthroughtheuse
       ofadvertising forseem ingly legitimate removalservicesin advertisem entson Bashing
       W ebsites. The Bashing W ebsitesthen charge a large sum ,som e ofwhich goesto them and
       som eofwhich goesto the Rem ovalW ebsites. Plaintiff,and countlessothervictim s,paid
       these scam rem ovalcom paniesonly to find the posts reappearoverthe lnternet. O nce the
       Rem ovalW ebsitesdeterm ine someone iswilling to pay forrem oval,they then repostall
       poststo extractand to extortfurtherm oney from said individual.
    126. TheCount7 Defendantshave intentionally conspired and agreed to directly and
       indirectly use orinvestincom e thatisderived from a pattern ofracketeering activity in an
       interstate enterprise,acquire orm aintain interestsin the enterprise through a pattern of
       racketeering activity,and conductand participate in the conductofthe affairsofthe
       enterprise through a pattern ofracketeering activity. The Count7 Defendantsknew thattheir
       predicate actsw ere pal4 ofa pattern ofracketeering activity and agreed to the com m ission of
       those actsto furtherthe schem esdescribed above. Thatconductconstitutesa conspiracy to
       violate 18 U.S.C.A.j 1962(a),(b)and (c),inviolation ofl8 U.S.C.j 1962(d).TheRemoval
       W ebsitesand the Bashing W ebsites are co-conspiratorskeen to defraud any and a1l
       businesspeople and studentsthey can. Perthe Suprem e Courtdecisionsin Holm esv.Secs.
       lnvestorProt.Corp.,Anza v.IdealSteelSupply Corp.,and Bridge v.Phoenix Bond drIndem.
       Co.,Plaintiffhasshownbothktproximatecause''andkiinjuryinfact.''TheDefendantsmust
       be held legally liable forthe dam agethey have done to Plaintiff;see the case Trollingerv.




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       TysonFoods,Inc.TheinjuriesPlaintiffsufferedwerenotreasonablyforeseeable,per
       Trollinger,370 F.3d at6l5.
    127. A sdirectand proxim ate resultoftheCount7 Defendants'conspiracy,the overtacts
       takeninfurtheranceofthatconspiracy,andviolationsofl8U.S.C.j1962(d),Plaintiffhas
       beeninjuredinherbusinessinthatshehashadtochangeherbusinessplanandtodelaythe
       launchofnumerousprojects,fashioncollections,andfashionservices.Theinjuryunderj
       1962(d)stemsfrom theovertactscolmmittedinfurtheranceoftheconspiracy,whichincludes
       continuing to repostdefam atory m aterialaboutPlaintiffdespite offering am ple evidence and
       sending hundreds ofem ailsrequesting rem oval.
    128. Plaintiffpaid extortion feesto theRem ovalW ebsites,which m eetsthe Coul'tstandard for
       dem onstrating a Gdconcrete financialIoss''asperthe cases TaxableM un.Bond Secs.Litig.,51
       F.3d5l8,523(5thCir.1995). ,Fleischhauerv.Feltner,879F.2d l290,1299(6thCir.1989),
       lmagineering,Inc.v.KiewitPac.Co.,976 F.2d 1303,1310 (9thCir.l992),andBerg v.First
       Statelns.Co.,915 F.2d460,464 (9thCir.1990).Plaintiffpaidtheextortion moneyovera
        sustained period oftim e before deciding to take Iegalaction. Receiptsw illbe m ade available
        to opposing counselim m ediately upon sending outthe firstsetofinterrogatoriesand requests
        forproduction. Plaintiffis notattaching receiptsto thispublicly available lawsuitto protect
        herprivacy.
     129. Plaintiffrelied upon the isbut-for''causation in paying the Rem ovalW ebsites.
     130. W HEREFORE,thePlaintiffpraysthatajudgmentbeenteredagainsttheCount7
        Defendantsinanamountfairandjust,butnoIessthanOneHundredThousandDollars
        ($100,000)incompensabledamages,aswellasexemplarydamagesintheamountofOne
        HundredThousandDollars($100,000)forthewillfulandcontumaciousdisregardforthe
        Plaintiff'sbusinessand the foreseeable im pactthisconductw ould have on Plaintiffs
        reputation asa respected,upstanding m em berofhercom m unity. Plaintifffurtherrequests
        thatDefendantsrem ove hernam e and photo from allassociate websitesfree ofcharge,be
        issuedapermanentinjunctionandenjoinedfrom anyfuture,similarconduct,andthatbe
        ordered to rem ove any existing,offending socialm ediaprofilesorposts. Plaintiffseeksa1l
        otherreliefthisCourtdeemsappropriateandjustunderthecircumstances.

                                    EIG H TH CAU SE OF AC TIO N
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                               CO M PUTER FIG UD AN1) ABIJSE
       AgainstMainiandAllDefendantsEngagedinBashing WebsitesandRemovalWebsites
    13l. Plaintiffincorporatesby referenceeach and every allegation contained in the preceding
       paragraphs ofthiscom plaintas iffully setforth herein.
    132. Based on inform ation and belief,certain Defendantsnamed herein and/ortheiragents follow ed
       and/orviewed Plaintiff'spersonalsocialm edia profiles,personalw ebsite pages,and pageantphoto
       w ebsite pages forthe purpose ofgathering Plaintiff'spersonalidentifying inform ation and pageant
       headshotphotograph.
          Based on inform ation and belief,Defendants,especially V ikram Parm araliasesM attHamp and
       M artin Horan a noted lndian felon created a decoy profile on socialm edia sites Linkedln to m ine
       Plaintiff'spersonalidentifying information(photographs)withoutauthorization. Parmaraccessed
       hercopyrighted pageantphotograph and then posted iton variousBashing W ebsites. The pageant
       photograph ofPlaintiffhasrem ained online form onths in spite ofPlaintiffnotifying said Bashing
       W ebsitesthatitw asa DM CA violation to keep herphoto in place on an obviously libelousûûreport''
       authored by M aini. Furtherm ore,Defendantscontinued to postand repostlibelousinform ation w ith
       hercopyrighted pageantphotograph spread acrossthe lnternet.
    l34. Plaintiff's personalserver,which hostsand operatesherfashion and artw ork websites,
       constitutesisprotected computers''asthatterm isdefined in 18U.S.C.j 1030(e)(2).
    l35. Asdescribed above,Defendantsconspired to comm itand attem pted to com m itviolationsof18
       U.S.C.jl030(a)(7)(B)and 18U.S.C.j1030(a)(7)(C)inviolationof18U.S.C.jl030(b).
          Defendants'conducthascausedlossasdefinedinU.S.C.j1030(e)(11)ofmorethan$5,000to
       Plaintiffduring a one-yearperiod.
          WHEREFORE,thePlaintiffpraysthatajudgmentbeenteredagainsttheDefendantsinan
       amountfairandjust,tobedeterminedattrial,aswellasexemplarydamagestobedeterminedat
       trial.Plaintiffallegesthisamountisin excessof$l00,000. Plaintiffalso seeksallotherreliefthis
       Courtdeemsappropriateandjustunderthecircumstances.

                                       NIN TH CA USE O F ACTION
         BREACH OF TH E IM PLIED CO VEN ANT O F G O O D FAITH A ND FA IR D EALIN G
                            AgainstGuaranteed Removals and lnternetRemovals
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          Plaintiff'incorporatesby reference each and every allegation contained in the preceding
       paragraphsofthis com plaintasiffully setforth herein.
    l39. A talltim esrelevantto thisaction,Plaintiffhashad a contractualrelationship w ith b0th
       G uaranteed Rem ovalsand lnternetRem ovals,and a prospective contractualrelationship w ith M inc
       Law ,A aron M inc,Repze,and Vikram Parm ar. This cause ofaction iscentered on Guaranteed
       Rem ovalsand lnternetRem ovals.
    140. ln orderto plead a prim a facie case ofbreach ofthe im plied covenantofgood faith and fair
       dealing,itmustbeproventhat(a)the PlaintiffandtheDefendantsarepartiestoawritten contract;
       (b)thecontractisambiguousaboutthepermissibilityorscopeoftheconductin question;(c)the
       Defendants,through a seriesofconsciousand deliberate acts,failorrefuse to discharge contractual
       responsibilities,w hich unfairly frustratesthe contract'spurpose and disappointsthe Plaintiffs
       expectations'
                   ,(d)the Defendants'breachdeprivesthePlaintiffofthecontract'sbenefits;(e)the
       Plaintiffsuffersdam ages. Case law supportofthisdefinition includes Cox v.Csx lntermodal,lnc.,
       732So.2d 1092,l097(Fla.1stDCA l999),Holmesv.FloridaA&M Univ.byandthroughBoardof
       Trustees,260So.3d400,407(Fla.1stDCA 20l8),Ahearnv.MayoClinic,l80So.3d 165,l70(F1a.
       1stDCA 2015),and Sobiv.FirstSouth Bank,Inc.,946 So.2d615,617 (Fla.1stDCA 2007). In
       particular,thejudgeintheSobiv.FirstSouthBank,lnc.casearguedasfollows:CCAIAimplied
       covenantofgood faith,fairdealing,and comm ercialreasonableness m ustrelateto theperformance
       ofan expressterm ofthe contractand isnotan abstractand independentterm ofa contractwhich
       m ay be asserted as a source ofbreach when al1otherterm shave been performed pursuantto the
       contractrequirem ents.
          Plaintiffentered into contractsw ith D efendantsG uaranteed Rem ovals and lnternetRemovals in
       written contractform . The contractsare am biguousaboutthe perm issibility oforscope ofthe
       conductin question,m erely stating dsrem ovals.'' The Defendants,through a seriesofconsciousand
       deliberate acts,failed and refused to discharge contractualresponsibilities,which unfairly frustrates
       the contract'spurpose and disappointsthe Plaintiff sexpectations. The Defendants'breach deprives
       the Plaintiffofthe contract's benefits. ThePlaintiffhassuffered trem endous dam agesem otionally,
       m entally,and spiritually.
          WHEREFORE,thePlaintiffpraysthatajudgmentbeenteredagainsttheDefendantsinan
       amountfairandjust,tobedeterminedattrial,aswellasexemplarydamagestobedeterminedat
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       trial.Plaintiffallegesthisamountisin excessof$100,000.Plaintiffalso seeksallotherreliefthis
       Courtdeemsappropriateandjustunderthecircumstances.

                                       TENTH CAU SE OF A CTIO N
        TO RTIO US IN TERFEREN CE W ITH A DVA NTAG EO US BU SIN ESS RELATION SH IP
                                           AgainstAIIDejèndants
    143. Plaintiffincorporatesby reference each and every allegation contained in the preceding
       paragraphsofthiscom plaintasiffully setforth herein.
    144. Atalltim es relevantto thisaction,Plaintiffhas had a prospective contractualrelationship w ith
       herprivate artw ork and couture clientele and a reasonable probability in the continuation ofthose
       businessrelationships.
    145. lnordertopleadaprimafaciecaseoftortiousinterference,itmustbeproventhat(a)thereisthe
       existenceofa businessrelationship,notnecessarily evidenced by an enforceablecontract;(b)
       knowledgeoftherelationshiponthepal4ofthedefendant;(c)anintentionalandunjustified
       interferencewiththerelationshipbythedefendant' ,(d)damagetotheplaintiffasaresultofthe
       breach ofthe relationship. Case 1aw supportofthis definition includes Tamiam iTrailTours,Inc.v.
       Cotton,463So.2d 1l26,1127 (Fla.1985),Gossard v.Adia Services,lnc.,723 So.2d l82,l84 (Fla.
       1998),and EthanAllen,Inc.v.Georgetown M anor,lnc.,647 So.2d812,814 (Fla.1994).
    146. Defendantshad know ledge ofthese relationshipsbecause they ortheiragentsand/orco-
       conspirators visited herprivate website,herstore w ebsite,herLinkedln,herInstagram ,her
       Facebook,and herSnapchatprofilesand harassed herand herfam ily by phone and em ailforthe
       purpose ofm ining Plaintiff's personalidentifying inform ation.
    147. Defendantsintentionally,orw ith substantialcertainty,interfered w ith the relationship betw een
        Plaintiffand herclientele by stealing and libelling herand herfam ily to Bashing W ebsites,causing
        m any ofhercouture clientele and businessaward com m itteesto end theirrelationship w ith Plaintiff
        and w ithdraw hernam e from award finalistlists.
           Defendants'above-described conducthascaused actualdisruption to the relationship between
        Plaintiffand herclientele.
            Defendants'above-described conducthascaused actualdisruption to the relationship betw een
        Plaintiffand various venture capitalgroups,m any ofwhom offered verbalcom m itmentsto investup
        to$50 M illion incash into herfashionbusinessfora25% equity stake,butlaterwithdrew their
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      offersorSghosted'Plaintiffdueto the sheeram ountoflibelaboutheron various Bashing W ebsites.
       Plaintiffalso faced trem endoushardship in traditionalarranged m arriage circles due to the sheer
      am ountoflibelaboutherand herfam ily,necessitating herto retain tw o non-lndian m atchm aking
       firm sfor$25,000and $100,000respectively,justto getsuitorsfrom therightbackground asitis
       now im possible forPlaintiffto receive a traditionalarranged m arriage.
    150. Defendants'above-described conducthascaused actualdisruption to the relationship between
       Plaintiffand herimmediatefamily. Herfam ily waswillingto investupto$5 M illion incash into
       herbusinessfora 2.5% equity stake,alongside a Iargerventure capitalfundraising round,and
       w ithdrew theirofferasa resultofthissituation. Plaintifps imm ediate fam ily w illonly invest
       alongside professionalventure capitalists. Plaintiffhasno choice butto continue seeking additiona!
       venture capitalinvestm entasherfam ily hasstrictinvestm entcriteria.
          ln thecaseofDadeEnterprisesv.Wometco Theatres,160 So.209,210 (Fla.l935),theCourt
       argued thatûtifone m aliciously interferesw ith a contractbetw een two persons,and induces one of
       them tobreachthecontracttotheinjuryoftheother,theinjuredpartymaymaintainanaction
       againstthe w rongdoer,and where the actwas intentional,m alice willbe inferred.'' D efendantM aini
       waswellaware thathislibelw ould cause Plaintiffto suffertrem endously in fundraising both w ith
       herim m ediate fam ily and w ith venture capitalistgroupsthathad expressed interestin Plaintiffs
       sm allbusinesspreviously. D efendantM ainiw asalso wellaw are thatPlaintiff intended to pursue an
       arranged m arriageto a suitable fam ily,and his libelous actions spread furtherby the m alicious
       libelcopy and pasting by Bashing W ebsitesand Rem ovalW ebsites has im paired herability to
       pursue arranged m arriage assom eone ofherstature asan Ivy League educated beauty queen,form er
       debutante,and abstinentvirgin educated ata top cooking schoolw ould otherw ise be able to obtain:
       an lvy League orOxbridge educated,suitorw ho is also religious,traditional,and an abstinentvirgin.
       Plaintiffhas now had to pursue the W estern approach to m arriage m atchm aking largely againsther
       will,requiring over$125,000 in feesto two elitematchmaking companiesintheUK andtheUS to
       obtain a m odern arranged m arriage based on love instead ofachieving the traditionalarranged
       m arriage ofherdream s which she worked hard and prayed to achieve since age 3.
           Itisclearhere thatDefendantsconductboth caused and induced the breach thatresulted in
       Plaintiffsdamages.RefertocasesUniv.of WestFloridaBd.oflkusteesv.Habegger,I25So.3d
       323,326(Fla.1stDCA 20l3),Murtaghv.Hurley 40So.3d62,66(Fla.2dDCA 2010),Felmandez
       v.HaberctGanguzza,LLP,30 So.3d 644,646(FIa.3d DCA 2010),JamesCrystalLicenses,LLC v.
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